Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.756   Page 1 of 162




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6/14/2018Case                   Conservative author
                 4:18-cv-11451-LVP-EAS        ECFBen Shapiro
                                                    No. 18-7talksfiled
                                                                  free speech, microaggression
                                                                         06/15/18              | The MichiganPage
                                                                                        PageID.757           Daily 2 of 162




      Government (/kickers/government)


      Conservative author Ben Shapiro talks free speech,
      microaggression
      Thursday, April 7, 2016 - 9:22pm




      Ben Shapiro, a conservative radio host and author, speaks to an overflowing crowd on the current political atmosphere at
      universities at Rackham Amphitheater Thursday. Buy this photo (http://store.pub.umich.edu/michigan-daily-buy-this-photo/)

      Matt Vailliencourt/Daily


      LYDIA MURRAY (/AUTHOR/LYDIAMUR)
      Daily Staff Reporter


      Ben Shapiro, a noted conservative columnist and author, discussed freedom of speech Thursday evening
      in the Rackham Graduate School Amphitheatre, drawing a crowd of approximately 300.
      The event — hosted by the Young Americans for Freedom with funding from Central Student
      Government — highlighted issues Shapiro described as attacks on freedom of speech and a free society,
      such as microaggressions and the concept of privilege.
      The event follows a week in which freedom of speech has been a prominent issue on campus, following
      anti-Islam chalkings (https://www.michigandaily.com/section/news/police-called-diag-over-chalk-
      messages-targeting-islam) on the Diag alongside pro-Trump messages, which garnered national media
https://www.michigandaily.com/section/news/ben-shapiro-talks-truth-microaggression                                                1/6
6/14/2018Case                   Conservative author
               4:18-cv-11451-LVP-EAS          ECFBen Shapiro
                                                    No. 18-7talksfiled
                                                                  free speech, microaggression
                                                                         06/15/18              | The MichiganPage
                                                                                        PageID.758           Daily 3 of 162

      attention and prompted discussions (https://www.michigandaily.com/section/news/michigan-political-
      union-addresses-recent-concerns-campus-community) about hate speech and the safety of Muslim
      students.
      CSG discussed the issue at length in their final meeting of the semester on Tuesday and ultimately passed
      (https://www.michigandaily.com/section/news/central-student-government-discusses-sanctuary-campus-
      final-meeting-semester) a resolution making the University a sanctuary campus for immigrants.
      Shapiro began his talk by addressing the chalkings, saying he wouldn’t normally support Trump except in
      instances people are offended by messages of support for Trump, proceeding to write “Trump 2016” on a
      chalkboard.
      “There is only one thing that I can do to support Trump,” he said, “when there are precious snowflakes
      who whine and cry when people write pro-Trump things on the ground.”
      Shapiro also addressed the controversy he has recently attracted at events on other campuses, such as a
      February speech at California State University, Los Angeles.
      [Twitter:https://twitter.com/benshapiro/status/703003637249781761?ref_src=twsrc%5...
      (https://twitter.com/benshapiro/status/703003637249781761?ref_src=twsrc%5Etfw])
      [Twitter:https://twitter.com/benshapiro/status/703002980442775553?ref_src=twsrc%5...
      (https://twitter.com/benshapiro/status/703002980442775553?ref_src=twsrc%5Etfw])
      At CSULA, a police escort was required for Shapiro’s exit following his speech, according to tweets
      Shapiro sent out at the time. The talk at CSULA was initially cancelled by CSULA President William
      Covino, who stated at the time he wanted to reschedule the event and involve other speakers to create a
      diversity of viewpoints.
      Shapiro charged that CSULA was stopping a diversity of opinion by preventing his talk, saying that
      “diversity” is one of the words liberals frequently use, but only use in the context of race and not in
      reference to diversity of opinion.
      “Diversity here meant that I had to shut up,” he said. “The kind of diversity that the Left loves is
      restricted... to diversity of skin color.”
      At the University, flyers put up by YAF promoting the event were torn down across campus and an
      advertisement put out by the group was vandalized, according to the group’s website.
      LSA sophomore Grant Strobl, one of the event’s organizers, said Shapiro’s talk offered a space to hear
      opposing viewpoints in a moderated context.
      “The event was a resounding success,” he said. “This event impacted campus by giving an example of an
      event where we all can listen to ideas that we might agree with and do it civilly. We need to have more
      discussions on campus without worrying about it being shut down.”
      Talking about another one of his five topics, microaggressions — common, seemingly minor but
      offensive comments often directed at a minority group or individual — Shapiro told an anecdote of a time
      when he called a transgender woman “sir” on national television, and she responded with a joking threat.




https://www.michigandaily.com/section/news/ben-shapiro-talks-truth-microaggression                                            2/6
6/14/2018Case                     Conservative author
               4:18-cv-11451-LVP-EAS            ECFBen Shapiro
                                                      No. 18-7talksfiled
                                                                    free speech, microaggression
                                                                           06/15/18              | The MichiganPage
                                                                                          PageID.759           Daily 4 of 162

      He said the other panelists he was with then reprimanded him for his offensive remark, validating the
      woman’s aggressive response. Allowing this sort of response to a microaggression, he added, infringes on
      his right to speak freely and make his own decisions.
      “You can not like what I say, but that doesn’t give you the right to put your hands on me,” he said. “All of
      this creates a very dangerous world. The Left is taking a battering ram to those two fundamental bases of
      Western civilization: You are responsible for your own actions and in a free society you can say things
      without people assaulting you.”
      Shapiro also touched on privilege, saying the concept of white privilege is a myth and can instead be
      replaced by other types of privilege like two-parent household privilege and crime privilege. To back up
      his point, he cited a series of statistics that showed children raised in single parent households do
      disproportionately worse than those from two-parent households, regardless of race.
      Looking at criminal justice, Shapiro argued that racial profiling does not occur, and instead police stop or
      arrest minorities at rates proportional to the rates they commit crimes. He said the easiest way to avoid
      being arrested is to avoid committing a crime.
      “It turns out that if you want to avoid prison, the easiest way to do that is to actually not commit a crime,”
      he said. “Here’s a fact about the supposedly evil and racist justice system: It under-prosecutes murder in
      minority communities.”
      Several national reports show that people of color are often arrested at higher rates than white individuals.
      According to the Washington Post (https://www.washingtonpost.com/news/wonk/wp/2014/12/04/the-
      long-halting-unfinished-fight-to-end-racial-profiling-in-america/), Black drivers are twice as likely to be
      arrested during a traffic stop as whites. Additionally, in Dearborn, more than half of the arrests in 2011
      and 2012 were of Black citizens. However, Blacks only make up 4 percent of the town’s population,
      according to DiversityInc (http://www.diversityinc.com/news/fbi-data-racial-profiling-real-ferguson-just-
      tipping-point/).
      Addressing a question about how to participate in debates with supporters of Bernie Sanders — who won
      (https://www.michigandaily.com/section/news/sanders-projected-win-tight-victory-michigan-primary) the
      Michigan primary and has a large (https://www.michigandaily.com/section/news/students-leaning-
      towards-sanders-michigan-primary) support base on campus — Shapiro said one should ask questions or
      simply not participate in discussion.
      “One of the things I always urge people to do is ask questions,” he said. “The second recommendation is
      don’t engage the guy. I mean, come on, you only have so many breaths left in your life.”
      LSA freshman Michael Smith said Shapiro’s talk gave a forum for students to learn about different sides
      of the political debate.
      “I think a lot of people are riled up because of the recent political election,” he said. “But they don’t really
      take the time to look at the other side. If they did, it would moderate a lot of people’s heated opinions.”


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6/14/2018Case                   Conservative author
                 4:18-cv-11451-LVP-EAS        ECFBen Shapiro
                                                    No. 18-7talksfiled
                                                                  free speech, microaggression
                                                                         06/15/18              | The MichiganPage
                                                                                        PageID.760           Daily 5 of 162


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               confessions-closeted-rosshole)




https://www.michigandaily.com/section/news/ben-shapiro-talks-truth-microaggression                                            4/6
6/14/2018Case                   Conservative author
                 4:18-cv-11451-LVP-EAS        ECFBen Shapiro
                                                    No. 18-7talksfiled
                                                                  free speech, microaggression
                                                                         06/15/18              | The MichiganPage
                                                                                        PageID.761           Daily 6 of 162



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6/14/2018Case                   Conservative author
                 4:18-cv-11451-LVP-EAS        ECFBen Shapiro
                                                    No. 18-7talksfiled
                                                                  free speech, microaggression
                                                                         06/15/18              | The MichiganPage
                                                                                        PageID.762           Daily 7 of 162

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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.763   Page 8 of 162




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6/14/2018Case               Bloomberg talks dangers
                4:18-cv-11451-LVP-EAS         ECFofNo.
                                                    microaggressions,
                                                         18-7 filed   safe06/15/18
                                                                           spaces at Commencement
                                                                                        PageID.764| The Michigan
                                                                                                           Page  Daily
                                                                                                                   9 of 162




      Bloomberg talks dangers of microaggressions, safe spaces at
      Commencement
      Saturday, April 30, 2016 - 2:01pm




      SHOHAM GEVA (/AUTHOR/SAGEVA) EMMA KERR (/AUTHOR/EMKERR)
      Editor in Chief              Managing News Editor


      Former New York City Mayor Michael Bloomberg touched on multiple topics of national discussion —
      including free speech on college campuses and the tone of the 2016 presidential election — in his Spring
      Commencement address Saturday morning, to a mixed response from the crowd.
      Bloomberg, who also founded business news organization Bloomberg L.P. and recently considered
      (http://www.bloombergview.com/articles/2016-03-07/the-016-election-risk-that-michael-bloomberg-won-
      t-take) a third-party run for the presidency, told the assembled graduates and families that fostering an
      environment on college campuses that allows for a variety of opinions is important.
      On the topic of safe spaces, trigger warnings and microaggressions, Bloomberg said such mechanisms
      prevent students from learning about difficult experiences they will encounter outside of the University of
      Michigan.
      “The fact that some university boards and administrations now bow to pressure and shield students from
      these ideas through ‘safe spaces,’ ‘code words’ and ‘trigger warnings’ is, in my view, a terrible mistake,”
      Bloomberg said. “The whole purpose of college is to learn how to deal with difficult situations — not run

https://www.michigandaily.com/section/news/bloomberg-talks-microaggressions-safe-spaces-spring-commencement-speech            1/7
6/14/2018
        Case              Bloomberg talks dangers
             4:18-cv-11451-LVP-EAS          ECFofNo.
                                                  microaggressions,
                                                      18-7 filedsafe spaces at Commencement
                                                                    06/15/18      PageID.765| The Michigan
                                                                                                     PageDaily
                                                                                                           10 of 162
      away from them. A microaggression is exactly that: micro.”
      His remarks came after University President Mark Schlissel told graduates that he has been proud to see
      students hold the administration accountable about free speech and discrimination, referencing outcry
      over the University’s response to anti-Islam chalkings
      (https://www.michigandaily.com/section/news/police-called-diag-over-chalk-messages-targeting-islam)
      found on the Diag in March.
      Many students and faculty members have expressed concern over the past month about the chalkings and,
      in some cases, the University’s response to them. Several students who gathered to wash off the chalkings
      said (https://www.michigandaily.com/section/news/police-called-diag-over-chalk-messages-targeting-
      islam) they found the messages upsetting and disturbing, and expressed disappointment that the
      University didn’t take immediate action to clean off the chalk. A letter
      (https://www.michigandaily.com/section/news/480-faculty-members-pen-letter-pres-schlissel-about-diag-
      chalking-incidents) in April signed by 480 faculty members condemned the chalkings, but also praised
      the University’s response to them.
      Schlissel has responded (https://www.michigandaily.com/section/news/schlissel-charlton-e-mail-student-
      body-over-anti-islam-chalkings) to the incident publicly several times, emphasizing the University’s
      commitment to diversity and inclusion, but also noting the campus free speech policy. In his remarks
      Saturday, he thanked students for standing against the chalkings.
      “I saw our students step up again when many of you denounced anti-Islam chalkings on the Diag and
      offered support to your fellow students,” he said. “You made us better by upholding one of the greatest
      values to which we aspire. Discrimination has no place at the University of Michigan.”
      Bloomberg devoted a significant part of his address to the discussions about free speech campuses
      nationwide have faced (https://www.insidehighered.com/quicktakes/2016/04/05/college-students-mixed-
      feelings-free-expression) after incidents like the anti-Islam chalkings
      (https://www.insidehighered.com/news/2016/03/28/new-round-chalkings-emory-and-new-debate-pro-
      trump-message-scripps), cautioning against limiting expression.
      “One of the most dangerous places on a college campus is a safe space because it creates the false
      impression that we can insulate ourselves from those who hold different views,” Bloomberg said. “In the
      global economy, and in a democratic society, an open mind is the most valuable asset you can possess.”
      His remarks drew a mixed response from the assembled crowd of graduates and parents, with both
      noticeable booing and clapping throughout the Big House, and a multitude of comments on social media.
      During several parts of Bloomberg’s speech, students could be heard yelling epithets at him.


                  Michelle
                  @tinykinkshamer

          I did not get up this early and work for 4 years to listen to
          Michael Bloomberg be a jackass #MGoGrad
          11:08 AM - Apr 30, 2016

              8     See Michelle         's other Tweets




https://www.michigandaily.com/section/news/bloomberg-talks-microaggressions-safe-spaces-spring-commencement-speech     2/7
6/14/2018
        Case               Bloomberg talks dangers
             4:18-cv-11451-LVP-EAS           ECFofNo.
                                                   microaggressions,
                                                       18-7 filedsafe spaces at Commencement
                                                                     06/15/18      PageID.766| The Michigan
                                                                                                      PageDaily
                                                                                                            11 of 162
      Kevin Kinney, a newly graduated School of Information graduate student, said after the ceremony that he
      disagreed with Bloomberg’s comments on microaggressions.
      “I do think the idea of microaggressions is real,” he said. “I don’t think it was very wise to minimize that.
      I get his point about learning different viewpoints and that’s what a university is supposed to be.”

                   Micah A.
                   @LetMicahDown

          Michael Bloomberg is a walking micoraggression. #GoBlue
          #MGoGrad
          11:15 AM - Apr 30, 2016

              11     See Micah A.'s other Tweets



                   NCgolf
                   @maga48479069

          #MGoGrad. Finally an intellect with courage has spoken. Thank
          you Mr Bloomberg for an outstanding dose of reality
          @MikeBloomberg
          11:26 AM - Apr 30, 2016
              1     See NCgolf's other Tweets


      Newly graduated LSA senior Grant Goodstein said he enjoyed Bloomberg’s speech but noted that not
      everyone around him did.
      “I was glad that he said things that were maybe a little bit controversial — wasn’t afraid to say them,”
      Goodstein said. “There was definitely a mixed reaction from the students, but I think that’s great to have
      and opens up some conversations.”
      Beyond college campuses, Bloomberg also highlighted in his address the concept of free speech in a
      number of other arenas, including the current election, his experiences as mayor in banning smoking in
      New York restaurants and a student claim about limitation of speech in The Michigan Daily.
      Speaking to the 2016 election, Bloomberg said demagoguery and extremism have become prevalent in
      campaign discourse.
      “Our country is facing serious and difficult challenges, but rather than offering realistic solutions,
      candidates in both parties are blaming our problems on easy targets who breed resentment,” Bloomberg
      said. “For Republicans, it’s Mexicans here illegally and Muslims. And for Democrats, it’s the wealthy and
      Wall Street.”
      Referencing policy points of U.S. Sen. Bernie Sanders (D-Vt.), he told grads they shouldn’t believe
      promises of free things.
      “When a populist candidate promises free college, free health care, and a pony, or another candidate
      promises to make other countries pay for our needs, remember: those who promise you a free lunch will
      invariably eat you for breakfast,” he said. “If there were simple solutions to complex problems, we
      wouldn’t have those problems.”

https://www.michigandaily.com/section/news/bloomberg-talks-microaggressions-safe-spaces-spring-commencement-speech      3/7
6/14/2018
        Case                 Bloomberg talks dangers
             4:18-cv-11451-LVP-EAS             ECFofNo.
                                                     microaggressions,
                                                         18-7 filedsafe spaces at Commencement
                                                                       06/15/18      PageID.767| The Michigan
                                                                                                        PageDaily
                                                                                                              12 of 162
      Bloomberg’s speech also had several lighter notes; in opening his remarks, he said he had arrived in Ann
      Arbor Friday night to experience campus and gone “straight to Ricks’.”
      “From there, I got a pie and cheesy bread from Pizza House,” he continued, listing city businesses and
      landmarks. “A sandwich at Zingerman’s — even I could barely afford that. And then I went to the Cube
      and gave it a spin.”

                  Good Time Charley's
                  @GTCharleys

          @MikeBloomberg We'll have a fishbowl waiting for you too!
          #MGoGrad #GoBlue
          11:27 AM - Apr 30, 2016
              2     See Good Time Charley's's other Tweets


      Newly graduated Kinesiology senior Sarah Kulhanek said she appreciated both the lighter and serious
      parts of Bloomberg’s speech.
      “I just want to know who he consulted before writing about Rick’s and Pizza House because I thought
      that was a good move on his part,” Kulhanek said.
      “I thought it was good to bring up a little bit of controversy,” she added about his remarks on freedom of
      speech. “This is a university. You have to be able to learn and grow as a person.”


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https://www.michigandaily.com/section/news/bloomberg-talks-microaggressions-safe-spaces-spring-commencement-speech        4/7
6/14/2018
        Case                Bloomberg talks dangers
               4:18-cv-11451-LVP-EAS          ECFofNo.
                                                    microaggressions,
                                                        18-7 filedsafe spaces at Commencement
                                                                      06/15/18      PageID.768| The Michigan
                                                                                                       PageDaily
                                                                                                             13 of 162




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6/14/2018
        Case                Bloomberg talks dangers
               4:18-cv-11451-LVP-EAS          ECFofNo.
                                                    microaggressions,
                                                        18-7 filedsafe spaces at Commencement
                                                                      06/15/18      PageID.769| The Michigan
                                                                                                       PageDaily
                                                                                                             14 of 162




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6/14/2018
        Case                Bloomberg talks dangers
               4:18-cv-11451-LVP-EAS          ECFofNo.
                                                    microaggressions,
                                                        18-7 filedsafe spaces at Commencement
                                                                      06/15/18      PageID.770| The Michigan
                                                                                                       PageDaily
                                                                                                             15 of 162
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https://www.michigandaily.com/section/news/bloomberg-talks-microaggressions-safe-spaces-spring-commencement-speech       7/7
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.771   Page 16 of 162




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6/14/2018
        Case                                First Meeting:
                  4:18-cv-11451-LVP-EAS ECF No.   18-7 Special   Guest Deroy Murdock
                                                           filed 06/15/18      PageID.772                                       Page 17 of 162

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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.773   Page 18 of 162




                   (;+,%,7 
6/14/2018
        Case                            Feminism
                4:18-cv-11451-LVP-EAS ECF        and Conservativism
                                           No. 18-7                 | The Federalist
                                                         filed 06/15/18              Society
                                                                                PageID.774     Page 19 of 162


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     22           12:00 a.m.

     2016



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     Michigan Student Chapter

     Speaker:

             Karin Agness,ßNetwork of Enlightened Women

     Speaker:

             Karin Agness,ßNetwork of Enlightened Women


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                    Karin Agness




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6/14/2018
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                4:18-cv-11451-LVP-EAS ECF        and Conservativism
                                           No. 18-7                 | The Federalist
                                                         filed 06/15/18              Society
                                                                                PageID.775     Page 20 of 162




https://fedsoc.org/events/feminism-and-conservativism                                                           2/2
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.776   Page 21 of 162




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Jon Shields comes to Michigan – Young Americans for Liberty
             Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18                   PageID.777   Page 22 of 162




          All Posts




                                       Jon Shields comes to Michigan
                                                                  By Andrew Krieger




             This last Thursday our YAL chapter at the University of Michigan brought Professor Jon
             Shields, an associate professor at Claremont McKenna College, to speak about political
             diversity in higher education.


             Professor Shields made the case that in higher education (especially in economics,
             philosophy, and political science) it is essential for there to be a wide range of thought among
             the professors in order for a student to be fully informed and knowledgeable. From his recent
             research he showed that currently conservatives and libertarians are severely
             underrepresented and gave us suggestions on how we, as students, could bring about that
             change.


             The talk gained us three additional names to add to our chapter emailing list and created a
             thoughtful discussion that went past the original event time.



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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.779   Page 24 of 162




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6/14/2018
        Case                    Students fromECF
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                                                                       last presidential debate | The MichiganPage
                                                                                         PageID.780            Daily 25 of 162




      Students from both major parties respond to last presidential
      debate
      Wednesday, October 19, 2016 - 11:47pm




      Randy Clark, candidate for the Michigan State House of Representatives, addresses the audience of the College
      Republicans' third presidential watch party in Angell Hall on Wednesday. Buy this photo
      (http://store.pub.umich.edu/michigan-daily-buy-this-photo/)

      Grant Hardy/ Daily


      EMILY MIILLER (/AUTHOR/EMIILLER) NEIL SCHWARTZ (/AUTHOR/NEILSCHW)
      Daily Staff Reporter             Daily Staff Reporter


      At watch parties for the final presidential debate Wednesday night, hosted by the University of
      Michigan’s chapters of College Democrats and Students for Hillary as well as the College Republicans,
      students divided along party lines with two distinct interpretations of who won the debate and how each
      candidate performed.
      During the debate, Democratic nominee Hillary Clinton and Republican nominee Donald Trump
      discussed a range of issues, from debt and entitlement reform, immigration, economy, the Supreme Court,
      foreign hot spots and fitness to be president.


https://www.michigandaily.com/section/elections/college-democrats-and-republicans-hold-watch-parties-presidential-debate         1/7
6/14/2018
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                                                                         last presidential debate | The MichiganPage
                                                                                           PageID.781            Daily 26 of 162

      One of the more significant moments of the debate came about halfway through, when Trump was asked
      if he would concede the election if he were to lose. Over the past month, the candidate has been raising
      concerns that the election will be rigged against him — claims that have been met with a critical
      response. (https://www.washingtonpost.com/news/monkey-cage/wp/2016/10/19/donald-trumps-rigged-
      election-talk-is-changing-minds-democrats-minds-that-is/)
      In response, Trump said, “I'll tell you at the time,” an unprecedented answer for a candidate in recent
      history.
      About 40 students gathered in Angell Hall to watch the debate with the College Republicans. Before the
      debate, Randy Clark, a Republican candidate for state representative in Michigan’s 52nd district
      addressed the audience, challenging students to vote in the election and further their involvement with
      politics.
      “Everybody wants to run and hide under a rock because they can’t stand this mess that’s going on, but
      you really have to get involved, you have to make a difference,” he said.
      At the College Republicans watch party, LSA sophomore Amanda Delekta said she found the debate to
      be an overall positive experience, compared with previous debates and campaign tactics.
      “I thought that it was Trump’s best debate by far, I thought he did a lot better job staying on topic and not
      trying to talk over people,” Delekta said. “I thought that the moderator did a lot better job making sure
      each candidate respected the other person and their time. So overall I thought it was a nice statement to
      end a brutal campaign on both sides.”
      However, Delekta said she wished the candidates had discussed at greater length the issue of Supreme
      Court justice appointment, which she considers to be the most pressing issue of this election.
      “We’ll fill at least two — possibly three — justices, which is crazy for one president, and hasn’t been
      done in a long time,” she said. “And that’s going to set the direction for policy in America for decades
      and decades.”
      In response to the question, Trump said he has a list of 20 conservatives who could fill the seats as
      justices, emphasizing the importance of their close interpretation of the constitution, while Clinton
      encouraged the Senate to confirm President Barack Obama’s nominee, Merrick Garland.
      Engineering freshman Lincoln Merrill also said he felt Trump performed well in this debate, citing times
      when he challenged Clinton on inconsistencies in her campaign.
      “From a policy standpoint, Trump definitely won,” he said. “I still think he could have kept his cool a
      little better … I think Trump did what he needed to do in this debate.”
      He added that he felt moderator Chris Wallace, host of “Fox News Sunday,” performed better than
      moderators in previous debates.
      “He hit them both equally hard on different subjects, he was the most fair of all the moderators and his
      performance blew me away,” he said.




https://www.michigandaily.com/section/elections/college-democrats-and-republicans-hold-watch-parties-presidential-debate           2/7
6/14/2018
        Case                    Students fromECF
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                                                                       last presidential debate | The MichiganPage
                                                                                         PageID.782            Daily 27 of 162




      Public policy freshman Anna Lenhart watches the third presidential debate with the College Democrats at the School of
      Public Policy Wednesday. Buy this photo (http://store.pub.umich.edu/michigan-daily-buy-this-photo/)

      Claire Meingast/ Daily

      In Weill Hall, about 50 students attended a debate watch party organized by College Democrats, Students
      for Hillary and the Michigan Democratic Coordinated Campaign.
      LSA senior Olivia Rau, a member of Students for Hillary, said her organization aims to bring awareness
      to the issues discussed during the election and ensure that students are well informed when it comes time
      to vote.
      “Our main goal is to get students thinking and paying attention to the issues and providing a platform for
      them to get exposed to what’s happening in the election,” she said.
      One point of contention between the candidates that resonated with the audience came toward the end of
      the debate, when Wallace asked the candidates how they would resolve dwindling funding for entitlement
      programs like Social Security and Medicare, which he said account for 60 percent of all federal spending.
      “Social security is going to run out in the 2030s,” he said. “And at that time, recipients are going to take
      huge cuts in their benefits.”
      In response to the question, Clinton said she planned to raise taxes on the wealthy and use the money to
      add to Social Security. In contrast, Trump pointed to the Affordable Care Act, saying he would abolish it.
      “One thing we have to do: repeal and replace the disaster known as Obamacare,” Trump said.
      Public Policy junior Katie Putnam said she thought this issue will play a large role in the future.
      “I personally care a lot about the Affordable Care Act,” she said. “And Medicare is going to be huge
      coming up.”
https://www.michigandaily.com/section/elections/college-democrats-and-republicans-hold-watch-parties-presidential-debate         3/7
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                                                                        last presidential debate | The MichiganPage
                                                                                          PageID.783            Daily 28 of 162

      Questions about the economy, which devolved in discussions of several scandals raised against both
      candidates, also drew strong reactions from both candidates.
      While Trump referred to accusations about Clinton’s deletion of classified emails
      (http://www.nytimes.com/interactive/2016/05/27/us/politics/what-we-know-about-hillary-clintons-
      private-email-server.html), Clinton brought up 2006 comments from Trump, released earlier this month,
      in which he bragged about touching women (https://www.washingtonpost.com/politics/trump-recorded-
      having-extremely-lewd-conversation-about-women-in-2005/2016/10/07/3b9ce776-8cb4-11e6-bf8a-
      3d26847eeed4_story.html) without consent.
      “Donald thinks belittling women makes him bigger,” Clinton said. “He goes after their dignity, their self
      worth, and I don’t think there is a woman out there who doesn’t know what that feels like.”
      Music, Theatre & Dance sophomore Liliana Talwatte said she thought Hillary responded strongly to
      Trump’s attacks.
      “I think she was fantastic,” she said. “She responded well (to Trump’s criticism).”
      Putnam said that she did not expect Clinton to respond in a way that mirrored Trump’s style.
      “There were some times where we were thinking that she was playing a little dirtier,” she said. “Trump
      was already going to do that himself.”




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6/14/2018
        Case                    Students fromECF
                4:18-cv-11451-LVP-EAS         both major
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                                                         18-7respond
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                                                                       last presidential debate | The MichiganPage
                                                                                         PageID.784            Daily 29 of 162



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6/14/2018
        Case                    Students fromECF
                4:18-cv-11451-LVP-EAS         both major
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                                                                       last presidential debate | The MichiganPage
                                                                                         PageID.785            Daily 30 of 162




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        Case                    Students fromECF
                4:18-cv-11451-LVP-EAS         both major
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                                                                filedto06/15/18
                                                                       last presidential debate | The MichiganPage
                                                                                         PageID.786            Daily 31 of 162

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https://www.michigandaily.com/section/elections/college-democrats-and-republicans-hold-watch-parties-presidential-debate         7/7
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.787   Page 32 of 162




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Former NRA President Froman and MLaw Professor Niehoff Debate Gun Control


                                                                  About           Students           Careers   News          Library       Events         Contact Us



                                                                     HOME > NEWS & INFORMATION > FEATURES > FORMER NRA PRESIDENT FROMAN AND MLAW PROFESSOR
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                            MLaw Newsroom


                                                                     Former NRA President Froman and MLaw
                                                                     Professor Niehoff Debate Gun Control
                                                                     By Amy Spooner
                                                                     November 2, 2016

                                                                     Shootings—from gang violence and random robberies to massacres like those at Sandy Hook
                                                                     Elementary and Pulse Nightclub—make seemingly daily headlines. And fiery political rhetoric
                                                                     surrounds the guarantees and limitations of Americans' right to keep and bear arms. So it is
                                                                     hard to remember that the Second Amendment hasn't always been front and center in
                                                                     national conversation.

                                                                     "When I was in law school, my Con Law casebook was a lot thicker than yours," former NRA
                                                                     President Sandra Froman recently told a crowd of Michigan Law students, "and nowhere in it
                                                                     was a Second Amendment case. When I later taught, I used to call it the lost amendment."
                                                                                                                                                                       Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18




                                                                     Froman, who served from 2005 to 2007 as NRA president—a volunteer role made famous by
                                                                     her predecessor, Charlton Heston—addressed a standing-room-only crowd as part of an
                                                                     October 27 conversation on gun control with Michigan Law Professor Len Niehoff, '84. The
                                                                     talk was sponsored by MLaw's Federalist Society.

                                                                     The 2008 U.S. Supreme Court case District of Columbia v. Heller brought the Second
                                                                     Amendment to prominence in both case law and social discourse, said Froman and Niehoff.
                                                                     Prior to that, the Court most recently had interpreted the Second Amendment in U.S. v.
                                                                     Miller, in 1939. In a 5-4 ruling in Heller, the Court found that the Second Amendment
                                                                                                                                                                       PageID.788




                                                                     protects an individual's right to possess a firearm for traditionally lawful purposes, such as
                                                                     self-defense within the home. Justice Antonin Scalia wrote the majority opinion, and Niehoff
                                                                     said that by endorsing the theory of individual rights and striking down the District of
                                                                     Columbia's strict gun laws, "the opinion presents as an exercise in Scalia's interpretation of
                                                                     originalism." Yet by focusing on self-defense in the home, and excluding the carrying of
                                                                     firearms in sensitive places such as schools and government buildings, he noted many felt
                                                                     that he wasn't completely true to his originalism roots. "It would be a dramatic
                                                                     understatement to call the opinion a mixed bag," Niehoff said. "And a lot of the criticism of
                                                                     the Heller decision stems from the highly selective nature of the texts that Justice Scalia
                                                                     referenced in order to write it."
                                                                                                                                                                       Page 33 of 162




                                                                     With violent crime an ongoing problem, Froman and Niehoff agree that people of radically
                                                                     differing opinions must work together to find common ground. "We can't discount the
                                                                     magnitude of the problem," Niehoff said, "but how do we correctly describe what the


https://www.law.umich.edu/newsandinfo/features/Pages/guncontrol_110216.aspx[6/14/2018 12:40:47 PM]
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                                                                     problem is? Gun control is a very easy place for politicians and policymakers to posture
                                                                     without really solving anything."

                                                                     He agreed with Froman and the NRA that an assault weapons ban is "largely symbolic," but
                                                                     the two speakers debated animatedly on the pros and cons of closing the alleged loophole
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                                                                                                                                                                PageID.789
                                                                                                                                                                Page 34 of 162




https://www.law.umich.edu/newsandinfo/features/Pages/guncontrol_110216.aspx[6/14/2018 12:40:47 PM]
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.790   Page 35 of 162




                   (;+,%,7 
6/14/2018
        Case                     Student Republicans
                 4:18-cv-11451-LVP-EAS      ECF No.  anxiously
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                                                                            at election watchPageID.791
                                                                                              party | The MichiganPage
                                                                                                                  Daily 36 of 162




      Student Republicans anxiously await results at election watch
      party
      Tuesday, November 8, 2016 - 10:51pm




      Republican presidential candidate speaks to supporters at a rally in Grand Rapids, Michigan on Monday, the eve of election
      day. Buy this photo (http://store.pub.umich.edu/michigan-daily-buy-this-photo/)

      Emma Richter/Daily


      ERIN DOHERTY (/AUTHOR/TRAINING)
      For the Daily


      They cheered when Republican presidential nominee Donald Trump won Alabama. They smiled when
      they saw Rubio win Senator of Florida. Like the rest of America, they shifted nervously back and forth in
      their seats. Some gripped their phones as they received notifications of results.This was how some of the
      University of Michigan’s Republican students watched the 2016 election unfold Tuesday night.
      Over 50 students from varying University of Michigan conservative groups gathered in Rackham
      Assembly Hall Tuesday night to watch Fox News’ coverage of the 2016 election — until 10 p.m., when
      they had to leave because they had only reserved the room until then.
      As of 10:45 p.m., Trump is winning in Michigan with 49.0 percent, behind Clinton’s 46.0 percent.

https://www.michigandaily.com/section/elections/student-republicans-anxiously-await-results-election-watch-party                    1/5
6/14/2018
        Case                   Student Republicans
              4:18-cv-11451-LVP-EAS       ECF No.  anxiously
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                                                                   results06/15/18
                                                                          at election watchPageID.792
                                                                                            party | The MichiganPage
                                                                                                                Daily 37 of 162

      Students from campus-sponsored groups, such as Young Americans for Freedom, Students for Life and
      Campus Republicans all gathered around tables in the hall awaiting the result of each state as the polls
      closed, cheering when Donald Trump took hold of a state. The event was sponsored by Fox News.
      LSA junior Grant Strobl, who organized the event, said he wanted to promote engagement with the
      process.
      “I put on this event because I think it's important that students are engaged in the electoral process,”
      Strobl said. “It’s a lot more fun to be engaged in this process when you’re with peers.”
      Given that Ann Arbor and the University of Michigan have historically swung left at the polls, many
      students in these conservative groups said they found solidarity in watching the election with like-minded
      peers, such as LSA freshman Nicole Hocott, a member of Michigan Students for Life.
      “I think Michigan is a very liberal place, so to be in a community where other people are like-minded or
      open minded is really refreshing and nice,” Hocott said. “Otherwise I would probably feel really lonely
      that I’m rooting for one thing when everybody around me is rooting for the other.”
      Of the students in the crowd, the majority said they predicted Democratic presidential nominee Hillary
      Clinton would win the presidency, though many students believed the election would be close.
      “I think it’s gonna be a toss-up. Right now the polls say Hillary is gonna win, but the challenge is going to
      be, are Hillary supporters going to turn out?” Strobl said.
      Hocott said she attributed media bias to why she believed Clinton is likely to win.
      “I think Clinton will probably win just because the media has misrepresented Trump as super racist and
      misogynistic,” she said.
      Though many students at the event were reluctant to share their political views, some were open with
      why they support Trump. LSA junior James Brown explained that it was not the candidate’s ideas that
      won him over, but rather his overall disdain for Clinton.
      “Really it’s not because I wanted Donald Trump to be president, but because I wanted Hillary Clinton to
      be president less. It’s really choosing between the lesser of two evils in this election for me,” Brown said.
      Music Theater and Dance senior Bret Patterson said he wore his “Make America Great Again Hat” to the
      event to display his loyalty to the nominee.
      “I voted because of his outsider status and just to try to break the system of special interests and how
      much influence they have on politics,” he said.
      Other students said they voted for Trump because of specific issues that he supported.
      “One of my most important issues is abortion, and so that was really important to me that we have a pro-
      life president,” Hocott said.
      Regardless of their reasons, most students admitted that they would be disappointed if Trump lost, but
      said the Republican party would recover from the defeat.
      But no matter what the result, Patterson said he was very tempted to wear his Trump hat on campus
      Wednesday.


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6/14/2018
        Case                    Student Republicans
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                                                                           at election watchPageID.793
                                                                                             party | The MichiganPage
                                                                                                                 Daily 38 of 162

      “I probably wouldn’t wear the hat to my classes,” Patterson said. “I would not sit in an auditorium in
      Angell Hall wearing the hat.”


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        Case                     Student Republicans
                 4:18-cv-11451-LVP-EAS      ECF No.  anxiously
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                                                                            at election watchPageID.794
                                                                                              party | The MichiganPage
                                                                                                                  Daily 39 of 162




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6/14/2018
        Case                     Student Republicans
                 4:18-cv-11451-LVP-EAS      ECF No.  anxiously
                                                          18-7 awaitfiled
                                                                     results06/15/18
                                                                            at election watchPageID.795
                                                                                              party | The MichiganPage
                                                                                                                  Daily 40 of 162

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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.796   Page 41 of 162




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Course promotes search for political common ground, solutions | The University Record
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                                                                                                          TODAY’S HEADLINES
                October 16, 2017
                                                                                                          Legislature passes 2 percent

                Course promotes
                                                                                                          boost to higher-ed funding



                search for political                                                                      More than 65,000 apply for
                                                                                                          incoming freshman class

                common ground,                                                                            New location set for June Board

                solutions                                                                                 of Regents meeting


                                                                                                          CRIME ALERT: Home invasion,
                By Rachel Reed                                                                            06-11-18
                LSA Communications

                                                                                                          University clarifies definitions of
                Topic: Academics                                                                          harassment, bullying

                                                                                                          Bridging the divide: U-M faculty,
                          Tweet                                                                print      staff forge community through
                                                                                                          art
                Share       6
                                                                                                          Election underway for non-union
                                                                                                          staff rep on police oversight
                Can Republicans and Democrats agree on anything at all? That's one                        panel
                of the questions being explored in a new undergraduate course at
                LSA.                                                                                      REMINDER: Nominations for
                                                                                                          2018 Neubacher Award due
                "Beyond Partisanship," the brainchild of political scientist Arthur                       Friday
                Lupia, aims to find common ground on issues that matter to most
                Americans and collaborate to find workable solutions to those                             Eisenberg Institute awards nine
                problems.                                                                                 fellowships for 2018-19




https://record.umich.edu/articles/course-promotes-search-political-common-ground-solutions[6/14/2018 12:42:59 PM]
Course promotes search for political common ground, solutions | The University Record
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                Lupia was recently given the U-M President's Award for Public                             U-M earns national awards for
                Impact, which honors individuals who have offered their academic                          sexual assault, alcohol
                research and expertise in tangible service of a major public-sector                       prevention efforts
                challenge.
                                                                                                          University community names
                "The aim is to find issues on which 70 percent of Republicans and 70                      four peregrine falcon chicks
                percent of Democrats agree," Lupia, Hal R. Varian Collegiate
                Professor of Political Science, professor of political science, and                       U-M researchers building
                research professor at the Center for Political Studies. "We want to                       system to safeguard confidential
                identify those problems, as well as real solutions, in both the private                   data
                and public sectors, and bring them to the table."
                                                                                                          U-M remains top U.S. public
                The goal, he says, is to go beyond typical party divides to improve the                   university in QS World Rankings
                lives of all Americans.
                                                                                                          + MORE HEADLINES
                To do that, the course will bring high-profile leaders to campus to
                inspire students, share lessons and answer questions about
                leadership in the public sphere.

                Leaders include:

                • U.S. Rep. Debbie Dingell, D-Dearborn, who will discuss the opioid
                crisis.

                • Beth Myers, a GOP strategist and former Mitt Romney campaign
                manager, who will focus on homelessness and housing security.

                • Former U.S. Rep. Brian Baird, D-Wash., who will speak about how
                to inspire commitment to public service.

                • Craig Ruff and Bill Rustem of Public Sector Consultants, a public
                policy firm, who have come together from opposite ends of the
                political spectrum to work together under Gov. Rick Snyder to tackle                      MOST POPULAR
                issues important to the state of Michigan.
                                                                                                          U-M remains top U.S. public
                Together, these leaders and students in the class will work in
                                                                                                          university in QS World Rankings
                conversational, closed-door sessions to identify ways to improve
                quality of life for vulnerable populations across Michigan and the
                                                                                                          Classes to begin before Labor
                nation. The emphasis will be to identify tangible solutions that could
                                                                                                          Day in 2020
                be executed in either the public or private spheres.

                "Our charge as a public institution is to serve all the people of                         U-M appoints new vice president
                Michigan," said LSA Dean Andrew Martin. "This is an ideal state to                        for IT, chief information officer
                seek shared solutions, with our rich mix of political perspectives,
                urban and rural populations, and challenges that unify us all."                           U-M maintains No. 15 in Times
                                                                                                          Higher Education World
                At the end of the semester, students are expected to produce reports                      Reputation ranking
                on these issues and solutions. This content will be shared with the
                general public, with the goal of taking concrete action.                                  Regents approve faculty
                                                                                                          promotions
                The speakers were invited based on their long experience and
                effectiveness as public servants, and on their ability to reach across
                party lines to find creative solutions to critical problems that matter


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                to students and the state.

                The course is the cornerstone of a new university effort called the
                Michigan Initiative for Shared Values, which aims to uncover issues
                important to most Americans regardless of political affiliation and
                work together to create workable solutions through community
                engagement.

                Tags: LSA, politics, political science




                COMMENTS




                  JANE SHIRLEY
                  on 10/17/17 at 7:27 am


                  Perfect course for Schlissel. Hopefully he signs up.




                  NICK PFOST
                  on 10/17/17 at 11:08 am


                  Awesome--this should be cross-listed at the Ford School.




                  KIM DUEDE
                  on 10/17/17 at 6:21 pm


                  This sounds awesome! Definitely a worthy course in this political
                  climate. There have been plenty of times when I've wondered if
                  solutions could be agreed on that would cross the lines between
                  parties.



                 Commenting is closed for this article. Please read our
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                   MICHIGAN DAILY          MICHIGAN NEWS            MICHIGAN RADIO  MICHIGAN TODAY                  HEALTH SYSTEM NEWS
                                                                       ATHLETIC NEWS




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           Case                       Escaping poverty through entrepreneurship
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                                                                                                                                    Page of   50Michigan
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HOME (/)    EVENTS (/EVENTS)      ESCAPING POVERTY THROUGH ENTREPRENEURSHIP




Events
POLICY TALKS @ THE FORD SCHOOL


Escaping poverty through entrepreneurship

WHEN: Wednesday, October 04, 2017 4:00 pm to 5:30 pm                                                                                       ADD TO CALENDAR 
LOCATION:bWeill Hall, Annenberg Auditorium
          735 S. State Street                                                                                                                  SHARE THIS
                Ann Arbor, MI 48103




Free and open to the public. Reception to follow.
Join the conversation: #policytalks
A Policy Talks @ the Ford School event with a lecture by Arthur Brooks, president of American
Enterprise Institute, on poverty and public policy. Followed by a conversation with Luke Shaefer,
director of Poverty Solutions, and community Q&A.
Co-sponsored by Poverty Solutions and the Gerald R. Ford School of Public Policy.b
About the speaker:
Arthur C. Brooks has been president of the American Enterprise Institute (AEI) since January 1, 2009. He is also the Beth and
Ravenel Curry Scholar in Free Enterprise at AEI.
Before joining AEI, Dr. Brooks was the Louis A. Bantle Professor of Business and Government at Syracuse University, where he
taught economics and social entrepreneurship. Before
pursuing his work in academia and public policy, he spent 12 years as a classical musician in the United States and Spain.
Dr. Brooks is a contributing opinion writer for The New York Times and the bestselling author of 11 books on topics including
the role of government, economic opportunity, happiness,
and the morality of free enterprise. His latest book is the New York Times bestseller, "The Conservative Heart: How to Build a
Fairer, Happier, and More Prosperous America”
(Broadside Books, 2015). He has also published dozens of academic journal articles and the textbook “Social Entrepreneurship”
(Prentice Hall, 2008).
Dr. Brooks has a Ph.D. and an M.Phil. in policy analysis from the Pardee RAND Graduate School. He also holds an M.A. in
economics from Florida Atlantic University and a B.A. in
economics from Thomas Edison State College.

TAGS:b Poverty and social policy, Arthur Brooks, American Enterprise Institute, Arthur Brooks




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Ford School                                          Poverty Solutions
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Arthur Brooks: Escaping poverty through entrepreneurship




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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.807   Page 52 of 162




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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18 PageID.808 Page 53 of 162


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                                                              FEB

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                                                              Assessing Lincoln on the anniversary of his birth
                                                              Lincoln himself noted in his Farewell Address of February 11, 1861, as he left
                                                              Springfield to become president in Washington, that he went “to assume a task
                                                              more difficult than that which devolved upon Washington.”
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                                                No. 18-7       gubernatorial
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                                                                                      | The Michigan Daily Page 62 of 162




      College Republicans welcome gubernatorial candidate
      Wednesday, October 25, 2017 - 9:02pm




      State Sen. Patrick Colbeck presented and took questions during an event Wednesday in the Union. Buy this photo
      (http://store.pub.umich.edu/michigan-daily-buy-this-photo/)

      Courtesy of Patrick Colbeck


      ISHI MORI (/AUTHOR/ISHMOR)
      Daily Staff Reporter


      Pitching his political platform, State Sen. Patrick Colbeck, gubernatorial candidate, R-Canton, spoke to
      members of the University of Michigan’s chapter of College Republicans on Wednesday at the Michigan
      Union.
      The students in attendance gathered to question the second-term state senator, who is known to be among
      (http://www.detroitnews.com/story/news/local/michigan/2017/05/31/patrick-colbeck-gov-
      run/102363312/) the most conservative members of the chamber on issues ranging from Obamacare
      (https://www.michigandaily.com/section/government/killing-it-inside-how-trump-administration-


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                                                                                         | The Michigan Daily Page 63 of 162

      dismantling-obamacare-michigan) to road maintenance — in 2015, 56 percent of non-federally funded
      roads were in poor condition, according (https://www.clickondetroit.com/traffic/michigan-roads-to-get-
      worse-before-better-data-shows) to the Michigan Transportation Asset Management Council.
      LSA senior Enrique Zalamea, president of College Republicans, said he invited Colbeck before
      frontrunner Bill Schuette because an internal straw poll of College Republicans indicated that he was the
      most popular of the Republican candidates. He said he was excited to give students a variety of views
      before the state Republican primary, which will be held on Aug. 7, 2018.
      “It’s a really great thing when you see these gubernatorial candidates, people running for different offices,
      to really want to engage with the students,” Zalamea said. “We’re really looking forward to hearing about
      his policies and his plans for running for governor and his plans for implementing those policies.”
      In his opening remarks, Colbeck spoke against bureaucrats in Lansing and Washington, D.C., for setting
      unrealistic policy goals and urged the audience to retake control of their right to make decisions on a local
      level.
      “There are a lot of people up in Lansing, a lot of people up in D.C., that think they know better how to
      run your lives than you do,” Colbeck said. “I run into them on a regular basis and I’m sick and tired of
      them.”
      Colbeck then opened the floor to questions. When asked how he plans to fund the government after he
      eliminates the income tax, as stated in his platform (https://colbeckforgovernor.com/principled-
      solutions/), Colbeck delineated a plan to slash unnecessary expenses. He explained economic
      development and reduction in welfare recipients would pay for a large part of the $9.7 billion budget hole
      his plan would leave. Colbeck also listed eliminating Obamacare, Medicaid grants from the government
      and stepping up enforcement against sales tax fraud as other measures.
      Colbeck argued he can do all of this without cutting essential services like police, fire and education, and
      rallied against politicians who would rather spend and grab newspaper headlines than tackle the difficult
      issues head-on.
      “I think we’re always chasing shiny objects sometimes in state government,” Colbeck said. “You’ve
      heard of ambulance chasers, there you’ve got your headline chasers.”
      When asked about free speech on campus, Colbeck pointed to Senate bills 349
      (http://www.legislature.mi.gov/(S(t5rmag232gcnye2hitemyxnt))/mileg.aspx?
      page=getobject&objectname=2017-SB-0349&query=on) and 350
      (http://www.legislature.mi.gov/(S(t5rmag232gcnye2hitemyxnt))/mileg.aspx?
      page=getobject&objectname=2017-SB-0350&query=on), pieces of legislation he co-wrote that punishes
      those who block speeches or protests on campus. He argued against those who shut down controversial
      speakers and emphasized the importance of civil dialogue in a democracy.
      “I want to have civil dialogue, because we don’t have dialogue in the universities where we’re supposed
      to have good, fair, balanced, open-minded discussions on this stuff here,” Colbeck said in an interview
      before the event. “We can’t allow people to shout down conversations, so I want to make sure we got an
      open dialogue, and if people want to engage, engage, but be respectful.”



https://www.michigandaily.com/section/government/republican-gubernatorial-candidate-speaks-candidacy                           2/6
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        Case 4:18-cv-11451-LVP-EAS   CollegeECF
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                                                                       06/15/18candidatePageID.819
                                                                                        | The Michigan Daily Page 64 of 162

      LSA senior Benjamin Decatur, co-chair of the American Enterprise Institute Executive Council at the
      University of Michigan, agreed with Colbeck, adding he feels uncomfortable sharing his opinions in class
      because he perceives a closed-minded liberal wall surrounding him.
      This past month, Decatur’s group brought (https://www.michigandaily.com/section/government/students-
      attempt-shut-down-speech-controversial-social-scientist-charles-murray) controversial political scientist
      Charles Murray to campus, stirring protests and demonstrations across campus that culminated in some
      students disrupting Murray mid-speech.
      “I think it’s definitely a problem,” Decatur said. “Speakers who differ from liberal orthodoxy get shut
      down or aren’t given the opportunities to speak, so it’s very important that we have protections in place so
      this doesn’t happen.”
      Colbeck later moved on to a question about federal versus local control of education. He criticized what
      he saw as the education establishment trying to wrest control of education away from students and their
      parents. He praised initiatives like the Michigan Education Savings Program (https://www.misaves.com/),
      which gives students and parents control over their accounts.
      “These student student-specific accounts would actually be controlled by the parents and the students, not
      by some educrat or bureaucrat up the line,” Colbeck said. “And (the education establishment) opposed
      that. That took power away from them. So it’s literally a discussion of control versus funding, and they
      chose control.”
      In discussions about immigration, Colbeck explained government’s first imperative is to secure the rights
      of the governed and said he was weary of allowing Syrian refugees in without stricter standards.
      “I actually authored a resolution encouraging Governor Snyder to keep his finger on the pause button in
      regards to Syrian refugees,” Colbeck said. “Because I was briefed on how we actually screen incoming
      immigrants into the country, and there was no attention to the security in that process at all.”
      In an interview before the event, Colbeck described the difference between him and his competitor
      Schuette as one of “bold colors versus pale pastels” to paraphrase Ronald Reagan.
      “I swing for the fences,” Colbeck said. “Case in point of our differences is I’m talking about eliminating
      the state income tax. He’s talking about reducing it 0.35 percent. There’s a difference in approaches
      there.”
      Regarding his recent expulsion from four committees in the Senate, Colbeck disputed the narrative of
      state Senate Majority Leader Arlan Meekhof, R-West Olive. Colbeck disputed the majority leader’s claim
      that he was angry about Colbeck campaigning in Meekhof’s district without asking him first, as is the
      norm in the Senate.
      “Ultimately, the issue was that I was out there speaking about policy issues the Senate majority leader
      didn’t want me to talk about, that’s at least his perception,” Colbeck said. “All I was doing was I was
      saying hi to people.”
      LSA junior Amanda Delekta, vice chair of College Republicans, said she thought the event was
      successful and a great opportunity for students to ask questions that cut deep into issues.



https://www.michigandaily.com/section/government/republican-gubernatorial-candidate-speaks-candidacy                          3/6
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                                                    No. 18-7       gubernatorial
                                                                         06/15/18candidatePageID.820
                                                                                          | The Michigan Daily Page 65 of 162

      “I think it’s important to keep an open mind to go through the election process and the campaign process,
      see what the candidates are saying, bounce that off each other, compare and contrast and find the
      candidate that’s going to support the issues that are important to me,” Delekta said.


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https://www.michigandaily.com/section/government/republican-gubernatorial-candidate-speaks-candidacy                            4/6
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                4:18-cv-11451-LVP-EAS      Republicans welcomefiled
                                                No. 18-7       gubernatorial
                                                                     06/15/18candidatePageID.821
                                                                                      | The Michigan Daily Page 66 of 162




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                                                No. 18-7       gubernatorial
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                                                                                      | The Michigan Daily Page 67 of 162

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                                                                            06/15/18             - The Michigan Page
                                                                                           PageID.824           Review 69 of 162




    Former Clinton Military Aide Tells
    Students “What Really Happened”




    Last Thursday, on Hillary Clinton’s birthday, over 100 people packed the Michigan Union Pendleton Room to
    hear Lt. Col. Robert “Buzz” Patterson speak about “What Really Happened” in regards to Clinton’s candidacy.



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                                                                                           PageID.825           Review 70 of 162

    Patterson served as the former military aide to President Bill Clinton and carried the “nuclear football,” the
    informal name for the briefcase that allows the president to launch a nuclear attack.

    The event was hosted by the Michigan chapter of Young Americans For Freedom, a nonprofit, nonpartisan,
    educational organization dedicated to promoting conservative ideas of free enterprise, limited government, and a
    strong national defense to give all people freedom to thrive, according to the group’s Facebook page
    (https://www.facebook.com/YAFUMich/?fref=ts).

    Patterson, who lived in the White House, was with the Clintons through it all, including the Monica Lewinsky
    scandal and the Whitewater controversy.

    He began his lecture by talking about his years in college and how strange it was that sixteen years after
    marching against nuclear weapons he found himself carrying the “nuclear football” for the President of the United
    States.

    Patterson painted a grim picture of the Clinton White House, marked by corruption and constant bickering
    between the president and first lady.

    In one recount, Patterson said that Clinton could have helped prevent thousands of Kurds from dying in Iraq, but
    he refused to answer several phone calls and instead watched golf.

    Patterson described in detail the oftentimes fraught relationship between Bill and Hillary Clinton, noting that the
    two slept in separate beds.

    Their dysfunctional relationship was especially seen when the two were fighting in an elevator before an event.
    As soon as the elevator opened they held hands and waved to the crowd as if everything was fine, according to
    Patterson.




          ”
                        “I am glad so many students were able to hear a different opinion
                        regarding the Clintons and the 2016 election that isn’t commonly
                        heard on campus,” Chludzinski said. “Patterson was able to prove that
                        Hillary would have been unable to be the individual that our nation
                        not only needs, but deserves.”


    “In that elevator, Hillary took out her anger on the president. She yelled at the president every bad word you have
    ever heard in your life,” Patterson said.

    Patterson described Hillary as having “profane anger” and would go “0 to 60 real quick.” He also said that she
    would “eviscerate people.”

    And then came the Monica Lewinsky scandal.

    Patterson described the day that the scandal broke, stating that “Hillary became the president that day,” as she
    told her husband what to say to the press.

    Hillary knew about President Clinton’s relationship with Monica long before it was leaked to the press, according
    to Patterson.

    Patterson also claimed that Hillary penned the now infamous “I did not have sexual relations with that woman”
    line that President Clinton told the nation, which ultimately led to his later impeachment.


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                                                                                           PageID.826           Review 71 of 162

    The day the scandal broke, Clinton was so preoccupied that he forgot where he put the nuclear codes. Patterson
    said it was unclear whether the codes had been lost for days or months.

    “He was not quite the commander in chief I had expected,” Patterson said.

    Asked what he hoped to learn from the event, LSA sophomore Hanuman Durina told The Michigan Review that
    he wanted a “deeper insight into all the rumors and theories that contributed to why so many people lost faith in
    Hillary Clinton…also to get a definitive answer on why the American people shouldn’t trust her.”

    Jacob Chludzinski, the president of Young American’s for Freedom at Michigan, thought the event was a great
    success.

    “I am glad so many students were able to hear a different opinion regarding the Clintons and the 2016 election
    that isn’t commonly heard on campus,” Chludzinski said. “Patterson was able to prove that Hillary would have
    been unable to be the individual that our nation not only needs, but deserves.”

    The event was hosted on the heels of Hillary Clinton’s stop in Ann Arbor last week to discuss her new book
    “What Happened.”

    (Visited 781 times, 2 visits today)



                              About Ben Decatur
                              Benjamin Decatur is a Social Media Editor for the Review, studying political science and
                              business at the University of Michigan. His work can also be found on Red Alert Politics,
                              The College Fix, and The National Discourse. He can be reached at
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                                                                          06/15/18          of Michigan News Page 76 of 162




   Federal tax reform: A bipartisan dialogue
   November 30, 2017                                                                                        Nicole Casal Moore

   EVENT ANNOUNCEMENT

   DATE: 2:30-4 p.m. Monday, Dec. 4, 2017

   EVENT: As a new tax reform bill moves through Congress, University of Michigan President Mark Schlissel
   will moderate a bipartisan discussion on current and historic tax reform e×orts with a former chairman of
   the House Ways & Means Committee and the dean of U-M’s Ford School of Public Policy. The event is open
   to the public.

   Panelists are:

          Former U.S. Rep. Dave Camp, senior policy adviser at PricewaterhouseCoopers, who was chairman of
          the House Ways & Means Committee from 2011 to 2015. Camp, who served in the House from 1991 to
          2015, was recognized for his leadership in advancing federal tax reform.

          Michael Barr, the Joan and Sanford Weill Dean of Public Policy at U-M’s Ford School and professor of
          public policy and law. Barr served from 2009 to 2010 as the U.S. Department of the Treasury’s assistant
          secretary for Ònancial institutions. He was a key architect of the Dodd-Frank Wall Street Reform and
          Consumer Protection Act of 2010.

          Mark Schlissel is is the 14th president of U-M and the Òrst physician-scientist to lead the institution. He
          became president in July 2014. He recently co-authored an op-ed in the Detroit News titled “Tax Plan
          Hurts College Students.”

   The event will be streamed live online.

   The panelists will address a broad range of practical and philosophical questions on tax reform topics:
   corporate tax rates, the right approach to taxing higher education, whether tax reform should take into
   account the current deÒcit, the e×ects of various tax reforms on wage growth, and whether reform should
   be a×ect all tax brackets equally, unlike the current proposal.

   Attendees can join the conversation at #policytalks or by writing questions on cards that will be passed out
   at the entrance.

   PLACE: Weill Hall, Annenberg Auditorium (Room 1120), 735 S. State St., Ann Arbor

   MEDIA RSVP: Media planning to attend should RSVP to Nicole Casal Moore at ncmoore@umich.edu by 5
   p.m. Friday, Dec. 1.

   SPONSOR: U-M Ford School of Public Policy

   INFORMATION: Tax reform: A dialogue




https://news.umich.edu/federal-tax-reform-a-bipartisan-dialogue/                                                                 1/1
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.832   Page 77 of 162




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                                                                        06/15/18              | The Michigan Daily
                                                                                          PageID.833          Page 78 of 162




      Conservative group sends free speech beach ball to the Diag
      Monday, January 8, 2018 - 5:23pm
      MOLLY NORRIS (/AUTHOR/MOLLYPN)
      Daily Staff Reporter


      Issues of free speech on the University of Michigan’s campus this year haven’t exactly been fun and
      games, but an outside conservative group sought to change that Monday afternoon.
      Students played with and scribbled on a huge beach ball labeled “Free Speech” on the Diag, open to
      anyone and everyone who wanted to share their thoughts and write something on the ball.
      Nathan Williamson, one of the facilitators of the event and a Field Representative at the Leadership
      Institute (https://www.leadershipinstitute.org/), an institute intending to provide training for conservative
      activists, has done this activity at universities all around Michigan in an effort to promote free speech on
      college campuses.
      “It’s a beach ball we roll around campus to promote free speech, and we let anybody write whatever they
      want to on it as a practice of the First Amendment,” Williamson said.
      In recent months, the line between free speech and hate speech has been heavily debated by University
      students and administration. In response to a speech
      (https://www.michigandaily.com/section/government/students-attempt-shut-down-speech-controversial-
      social-scientist-charles-murray) by Charles Murray, a controversial social scientist who promotes a since-
      debunked relationship between race and IQ, last October, protests were organized, claiming his ideas
      were discriminatory and did not qualify as free speech. With the impending decision
      (https://www.michigandaily.com/section/administration/university-will-not-deny-spencer-request-speak-
      campus) by the University as to whether or not white supremacist Richard Spencer will be given a date
      and place to speak on campus assuming the safety of students can be assured, the University has
      organized (https://www.michigandaily.com/section/news-briefs/wake-spencer-decision-u-announces-
      series-events-free-speech-and-inclusion) events during the winter semester to examine what free speech
      means on campus.
      Williamson said he brought the beach ball to the University because of FIRE
      (https://www.thefire.org/), — Foundation for Individual Rights and Education — a free speech watchdog
      organization that looks at college campuses around the country and rates their free speech policies.
      FIRE rates “green light schools” are campuses it views as friendly to friend speech, while red light
      schools are the worst. FIRE rated the University as a red light institution
      (https://www.thefire.org/schools/university-of-michigan-ann-arbor/).
      “U-M has red light policies that basically show that the school is less open to free speech,” Williamson
      said. “So the purpose of this specifically is to just promote a culture of free speech here on campus.”
      FIRE has deemed some of the University’s policies on hate speech, bias-related incidents and sexual
      harassment to be examples of red light policies that restrict students’ free speech.
https://www.michigandaily.com/section/campus-life/students-share-thoughts-free-speech-beach-ball-display                       1/3
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                                                                         06/15/18              | The Michigan Daily
                                                                                           PageID.834          Page 79 of 162
      Williamson had been to many campuses around the state of Michigan, and said that he hadn’t been at the
      University’s campus long enough to really tell how the policies were enforced. However, regardless of
      how they are enforced, Williamson said the way that the policies are written are not necessarily
      welcoming to free speech.
      In addition to the Leadership Institute’s display at various universities, other conservative advocacy
      groups such as Turning Point USA have been increasing their presence in higher education. Last year, a
      website by Turning Point called Professor Watchlist
      (https://www.michigandaily.com/section/academics/students-professors-react-professorial-free-speech-
      concerns) identified about 150 professors around the country as discriminating against conservative
      students.
      Williamson said at times, the beach ball and other events he has organized have been met with protesters
      and even police interference. In this specific display, the ball was met with curious looks and some
      questions, but no one seemed particularly threatened by it.
      Many students stopped to write on the ball. While some students wrote song lyrics or drew pictures,
      others took a more political route with their writing. One side of the ball had “Palestine” written with a
      heart under it, and the other had “G-d Bless Israel.” There was one comment that read “speech isn’t free,”
      and some that were more vulgar; for example, “F— Mike Pence.”
      One student who stopped to write on the ball was LSA sophomore Lucas Renno, who thought while the
      beach ball may not entirely get the point across, it was a good start to talking about free speech at the
      University.
      “I believe that free speech, as in the very idea of the right that anybody should be able to express an
      opinion without being censored or persecuted, is a right that is fundamental to our modern society, and to
      the very concept of democracy itself,” Renno said.
      Engineering freshman Anu Tuladhar, who stopped to look at the ball, also said she believed it was a “cool
      way” to promote free speech.
      “I think having a physical representation to just put your thoughts on is nice because it’s not something
      online where it’s completely anonymous, and you feel completely protected by cyberspace,” Tuladhar
      said. “You still have this place where you can just show everyone, ‘this is what I’m thinking.’ ”




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            State Senator behind free speech legislation launches campaign for governor
            (/section/government/campus-free-speech-legislation-debated-commitee-hearing)


https://www.michigandaily.com/section/campus-life/students-share-thoughts-free-speech-beach-ball-display                        2/3
6/14/2018
        Case                        Conservative
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                                                     No.     free speech
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                                                                          06/15/18              | The Michigan Daily
                                                                                            PageID.835          Page 80 of 162

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                                                                        06/15/18              - The Michigan Review
                                                                                         PageID.837          Page 82 of 162




    Middle East Policy in the Age of Trump:
    A Talk from Michael Rubin




    On Tuesday night, before President Trump took the stage to give his State of Union address, Michael Rubin
    gave a talk at the University of Michigan titled “The Iran Deal, Iran Protests, and the Future of the Middle East.”
    Michael Rubin (http://www.aei.org/scholar/michael-rubin/) is a resident scholar and historian with the American
    Enterprise Institute who focuses on Iran, but also studies Turkey, Iraq and other Middle East countries. Rubin
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                                                                        06/15/18              - The Michigan Review
                                                                                         PageID.838          Page 83 of 162
    focuses on these countries and looks at how US policy toward them has shaped their futures, and also writes
    about how we should treat these countries in the present. He has made numerous media appearances, including
    his most recent appearances on Fox News’s “Fox and Friends (http://www.aei.org/press/discussing-immigration-
    reform-rubin-on-fox-news-fox-friends/)” discussing border security and CNBC’s “Power Lunch
    (http://www.aei.org/press/discussing-the-geopolitical-risk-of-the-protests-in-iran-rubin-on-cnbcs-power-lunch/)”
    discussing the recent Iran protests. In his most recent book, Dancing with the Devil: The Perils of Engaging
    Rogue Regimes (https://www.amazon.com/dp/B00THFMDDQ/ref=dp-kindle-redirect?_encoding=UTF8&btkr=1),
    he examines the pitfalls of attempting to negotiate with “Rogue Regimes,” from North Korea to the Palestine
    Liberation Organization (PLO).

    He started off the event by outlining the purpose of the talk: to focus on things that “are not necessarily on the
    front pages of newspapers” but still deserve equal attention and discussion when thinking about the United
    States and its policies toward the Middle East. He then delved into his feelings on the Joint Comprehensive Plan
    of Action (https://www.state.gov/e/eb/tfs/spi/iran/jcpoa/), commonly known as the “Iran Deal
    (http://www.bbc.com/news/world-middle-east-33521655).” The details
    (https://www.theguardian.com/world/2015/jul/14/iran-nuclear-deal-key-points) of that plan includes a reduction of
    centrifuges in Iran, as well as a reduction of Iran’s Uranium capacity and stockpile, which would be verified by
    inspections from the International Atomic Energy Agency, otherwise known as the IAEA. The United States and
    the European Union in turn agreed to reduce nuclear and economic sanctions on Iran if they complied with the
    deal. Most notably, the deal includes a lifting of economic oil sanctions
    (https://www.nytimes.com/2016/01/17/world/middleeast/iran-sanctions-lifted-nuclear-deal.html) in early 2016,
    which released over $100 billion in assets to the regime. This deal has been considered a hallmark of the Obama
    (https://www.cbsnews.com/video/full-speech-president-obama-defends-iran-nuclear-deal/) Presidency. The
    former president, as well as former Secretary of State John Kerry (https://www.washingtonpost.com/opinions/the-
    iran-deal-is-working-heres-how-we-know/2017/09/29/d138b070-a44c-11e7-b14f-f41773cd5a14_story.html?
    utm_term=.f16d36b493cc), have hailed the deal as having an overwhelming positive influence in the region.

    However, while there are those who support the deal, many conservatives in the US are against the Iran deal as
    they feel it will not stop Iran from obtaining nuclear weapons and instead lifts many of the sanctions that kept
    them in check. This led US Senators Bob Corker of Tennessee and Ben Cardin of Maryland to author a
    bipartisan law (https://www.politico.com/story/2015/04/ben-cardin-bob-corker-iran-deal-116979) that stated that
    the Iran deal had to be reviewed and re certified every 90 days by the President in order to continue. In October
    of last year, President Trump announced that he would refuse to re-certify
    (https://docs.google.com/document/d/186M0dU2vl4bGjZhORbyjE1MdoqImT9r6lbKNrM9cT5g/edit) the deal by
    the next deadline, saying that Iran was violating “the spirit of the deal.” This in turn led to much controversy and
    criticism, as many people were divided on the issue.

    Michael Rubin addressed the deal by saying he tended to be against it, as the premise of progressivism that the
    deal was outlined under was faulty to begin with. This premise or idea is that the newly elected reformists in an
    undemocratic country can show that acting responsible was better than continuing to act in nefarious and
    degrading ways as a regime. This, many progressives believe, forces these countries to become democracies
    and change their ways.




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                       While I disagreed with some of his points, I found the event to be
                       illuminating, full of perspective and insight into a country and a
                       region that will continue to be analyzed for generations to come.


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                                                                        06/15/18              - The Michigan Review
                                                                                         PageID.839          Page 84 of 162
    This idea was brought up at a feverish rate when Hassan Rouhani was elected President, as many believed he
    was the reformer of Iran that the world had been waiting for. Rubin responded to this by saying that while that
    view is not always false, many negotiations with rogue regimes generally did not cause these regimes to turn into
    vibrant democracies, and instead leads to the perpetuation of these regimes for decades to come. He discussed
    many examples of this from Libya to the rest of the Middle East, but perhaps most notably he discussed the 1994
    North Korea (https://www.pbs.org/wgbh/pages/frontline/shows/kim/themes/lessons.html) deal as an example.
    That deal, commonly known as the Agreed Framework, is extremely similar to the current Iran Deal, in that it
    promised an end to sanctions on North Korea if they agreed to end their respective nuclear programs. However,
    that deal was not able to be renegotiated and fell through completely as a result. Rubin believed that at the time
    this deal seemed as though it was working, it later failed. In his eyes it allowed the North Korea government to
    live for years without any sanctions, and then by the time the deal fell through they were able to very easily
    acquire nuclear weapons. As a result, they now pose a very serious threat to the United States, and one that
    could have been avoided without negotiating in the first place.

    Rubin further went on about the most recent protests, as well as discuss the Islamic Revolutionary Guard Corps
    (https://www.theguardian.com/world/2017/oct/12/its-become-a-monster-is-irans-revolutionary-guard-a-terror-
    group) (IRCG) which he said controls an estimated 40% of the Iranian economy and has been likened to a terror
    group by many on the conservative right. This would eventually lead to President Trump imposing sanctions
    (https://www.vox.com/world/2017/10/13/16469226/iran-deal-islamic-revolutionary-guard-corps-sanctions) on the
    IRCG, cutting them out of the US financial system. He talked about IRCG’s significance to the region as a whole,
    their loyalty to the government of Iran rather than their own people, and their willingness harm their own citizens.

    “What we don’t know is whether or not these guard members are serving in their own communities or are being
    forced to rotate.”

    After his talk, he opened the floor up for questions. University of Michigan Professor Victor Lieberman
    (https://lsa.umich.edu/history/people/faculty/eurasia.html), whom I have written about in a previous article
    (https://www.michiganreview.com/stop-silencing-us-chronicling-shameful-csg-vote/), asked Rubin if he believed
    that Iran would be able to obtain nuclear weapons after the JCPOA expired, and while he indicated his unease
    and suggested that it was hard to know but it was certainly likely. Rubin was also asked a question about
    Jerusalem and President Trump’s decision to not only make Jerusalem Israel’s capital but also move US
    Embassy (https://www.nytimes.com/2017/12/06/world/middleeast/trump-jerusalem-israel-capital.html) their as
    well West Jerusalem. He claimed it was “a big nothingburger” and that West Jerusalem was already controlled by
    Israel and these protests tended to die down after a few weeks.

    While I disagreed with some of his points, I found the event to be illuminating, full of perspective and insight into
    a country and a region that will continue to be analyzed for generations to come. I thank the AEI executive
    council for inviting The Michigan Review and hope that more experts like Rubin will continue to be invited to our
    campus in the future.

    (Visited 314 times, 1 visits today)



                             About Noah Garnkel
                             Noah is a freshman looking to study International Studies. He is from Southern California,
                             and his main interests in writing are sports (particularly soccer) and politics. In his free
                             time he likes to play basketball, listen to podcasts, run, and read. View all posts by Noah
                             Garfinkel → (https://www.michiganreview.com/author/noahgarf/)

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6/14/2018
        Case                    Middle East Policy
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                                                                        06/15/18              - The Michigan Review
                                                                                         PageID.840          Page 85 of 162


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            John F. Brennan — Rational argument based                                   points. Currently I'm politically homeless,
            upon empirical facts, leading to a logical                                  formerly Republican and now certainly open to
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                                                                          06/15/18           Kirk - The Michigan
                                                                                        PageID.842               Review87 of 162
                                                                                                               Page




    U-M College Republicans Host Turning
    Point USA Founder Charlie Kirk




    On Tuesday, the University of Michigan College Republicans hosted conservative political pundit Charlie Kirk for
    a speech in the Michigan League. The talk centered around a discussion of ideological diversity and
    conservatism on college campuses, an especially salient issue as of late, following Central Student


https://www.michiganreview.com/u-m-college-republicans-host-turning-point-usa-founder-charlie-kirk/                                1/3
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                                                                          06/15/18           Kirk - The Michigan
                                                                                        PageID.843               Review88 of 162
                                                                                                               Page
    Government’s divestment debate (https://www.michiganreview.com/stop-silencing-us-chronicling-shameful-csg-
    vote/) last semester.

    Charlie Kirk is the founder and CEO of Turning Point USA (https://www.tpusa.com/) — a conservative
    organization dedicated to educating college students about the values of limited government and free market
    economics. Alongside student charters at over 300 campuses nationwide, the organization operates its own
    mobile news service — Turning Points News — similar in structure to left-wing competitor NowThis
    (https://en.wikipedia.org/wiki/NowThis_News). They are arguably most famous for their “Professor Watchlist
    (http://www.professorwatchlist.org/)”, which maintains a public listing of professors accused of discriminating
    against conservative students or opinions.

    While student questions dominated most of the evening, Mr. Kirk began his speech by outlining the guiding
    principles of his organization. He argued that America is the greatest country in the world, the Constitution is the
    greatest political document ever written, and that free market capitalism is the best economic system for lifting
    people out of poverty. These central tenets, he stated, not only guide his work with Turning Point, but inform his
    entire political philosophy.

    From here, Mr. Kirk explained “Conservatarianism”, his personal philosophy which advocates for liberty of action
    so long as no harm is done to others. This rather Millian (https://en.wikipedia.org/wiki/Harm_principle)
    conception of liberty hinges on a critical assumption that people are inherently bad and imperfectible. As a
    result, while we can use institutions to better society, these actions are better conducted by private groups like
    churches or the family, rather than the government.




          ”
                       Comments ranged from attacks of the BDS movement as one
                       deserving of being “blocked (…) at every single turn”, to lengthy
                       conversations on how best to address perceived liberal bias on
                       campus.


    I had the opportunity to ask Mr. Kirk more about this aspect of his philosophy, especially considering the many
    failures and scandals plaguing such institutions over the years. He responded by noting that while we as a
    people can never be perfect, free market ethics help spawn new organizations out of corrupt ones — new
    churches out of old ones — that help improve private citizens’ actions better than government intervention ever
    could.

    To conclude the evening, Mr. Kirk passionately condemned socialism and recent upticks in “fake news”. He
    argued that socialism is “the greatest killer of this century”, and that young Democrats voting for socialist
    politicians are akin to “chickens voting for Colonel Sanders”. He was especially critical of coverage insinuating
    any negative opinions toward America or its role in the world, even claiming that without American intervention,
    South Korea would be unable to host this year’s Olympic games. Moreover, Mr. Kirk responded to recent reports
    comparing North Korean diplomat Kim Yo-jong favorably to Mike Pence
    (https://www.nytimes.com/2018/02/11/world/asia/kim-yo-jong-mike-pence-olympics.html): “The media hates
    Trump so much, they found a way to compliment North Korea”.

    Both Mr. Kirk and the audience seemed to enjoy the question-heavy latter portion of the evening. Comments
    ranged from attacks of the BDS movement as one deserving of being “blocked (…) at every single turn”, to
    lengthy conversations on how best to address perceived liberal bias on campus. One student in particular, a self


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                                                                          06/15/18           Kirk - The Michigan
                                                                                        PageID.844               Review89 of 162
                                                                                                               Page
    proclaimed “neoliberal”, drew the ire of the crowd as he questioned the effectiveness of borders in preserving the
    free market. Mr. Kirk responded by defining “sovereignty”, as well as insinuating that an open-border policy is
    nothing more than a thinly-veiled no-border policy.

    At only 23 years old, Mr. Kirk has spoken to thousands of students across the country. His work has lead him to
    over 200 public appearances on Fox News and CNBC, becoming a prominent figure in advocating for limited
    government.

    (Visited 1,407 times, 1 visits today)



                              About Jake Thorne
                              Jake Thorne is Editor-in-Chief of the Review, studying Honors Political Science and
                              Economics at the University of Michigan. He has been an active contributor to the Review
                              since 2014. He can be reached at jnthorne@umich.edu View all posts by Jake Thorne →
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                 Quest for Liberty • 4 months ago
                 This boy dumb tho
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                 College Meltdown • 4 months ago
                 Here's the truth about Charlie Kirk and TPUSA. They are a pro-Trump racist, anti-feminist, anti-
                 intellectual youth group backed by billionaires including Foster Friess and Bruce Rauner. And
                 they use a variety of dirty tricks to incite others. My latest report is here:
                 https://www.linkedin.com/pu...
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                           Hans Solo > College Meltdown • 3 months ago
                           You seem to be a smear type bigot. You hear nothing that has not been programmed into
                           you by your handlers. Socialism was the venue of the Nation Socialist Workers Party aka
                           Nazis. When Louis Farrakan came to speak at Detroit Comerica Park, the socialist
                           governor, Granholm said nothing and endorsed the event.
                           “We are socialists, we are enemies of today’s capitalistic
https://www.michiganreview.com/u-m-college-republicans-host-turning-point-usa-founder-charlie-kirk/                                3/3
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                                          Melissa Kay Swiney                                                                  Organizations in Ann Arbor, Michigan
                                          August 12, 2012
                                          Please help me by signing my petition. I was 17 when the judge decided I
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                                         March 23 ·
                               Please join the Federalist Society and Food Law & Policy (FLAP) for
                               "Biting the Hands that Feed Us" next Wednesday, March 28th.                           Places     Ann Arbor, Michigan       Organization
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                                         The Federalist Society at the University of Michigan Law
                                         School
                                         March 15 ·
                               Please join the Federalist Society and The American Constitution
                               Society at the University of Michigan for "Discussing Net Neutrality" on
                               Tuesday, March 20.
                               Gue
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                               and Professor William Novak will discuss the repeal of net neutrality and
                               its implications.
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                               The event will be in 100 Hutchins Hall and non-pizza lunch will be
                               served.... See More

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                                    The Federalist Society at the University of Michigan Law
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                                    March 8 ·
                             Please join us for an Article I powers talk next Tuesday, March 13th!




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                                    The Federalist Society at the University of Michigan Law
                                    School
                                    March 4 ·
                             Please Join the Federalist Society for "Enemies Among Us: Fighting
                             Domestic Terrorism Without Losing Freedom."
                             Where: 250 Hutchins
                             When: March 6th, 11:50 AM
                             Who: Ken Klukowski, General Counsel for the American Civil Rights Union;
                             Professor Schlanger will provide commentary.... See More




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                                      The Federalist Society at the University of Michigan Law
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                                      February 13 · Ann Arbor, MI ·
                             Please join us for "The Expansive Welfare State: Financial and Social
                             Collapse" on Monday, February 19th.
                             Speaker: Doug Bandow, Senior Fellow at the Cato Institute
                             Commentary: Professor Gray, Unemployment Insurance Clinic
                             Time/Place: Noon, HH 250... See More




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                             Austin Lipari likes this.



                                       The Federalist Society at the University of Michigan Law
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                                       February 11 ·
                             Please join the Federalist Society on February 15th for a talk on The War
                             Powers Resolution--presented by our special guest, Professor Robert
                             Turner.
                             Where: 0225 South Hall
                             When: Feb. 15, 11:50 am
                             Who: UVA Law Professor Robert Turner. Professor Mortenson will be on
                             hand to provide commentary.... See More




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                             Alex Belica likes this.



                                      The Federalist Society at the University of Michigan Law
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                                      February 5 ·
                             Come hear about the merits of originalism with Professor Richard Primus
                             and Professor Lee Strang!
                             The event will be Thursday, February 8th at noon in South Hall 1225. Olga's
                             Kitchen Catering will be served.




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                                      November 6, 2017 ·
                             Check out our event tomorrow (November 7th), co-sponsored by MLaw
                             ACLU!




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                                     The Federalist Society at the University of Michigan Law
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                                     October 19, 2017 ·
                             Interested in the constitutionality of the travel ban? Check out our event on
                             Monday, October 23rd.
                             Speakers: Professor Josh Blackman, Professor Richard Primus
                             Location: South Hall 1225
                             Time: 12-1... See More




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                                       The Federalist Society at the University of Michigan Law
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                                       October 16, 2017 ·

                             Right on Crime:
                             Is criminal justice reform an area where liberals, conservatives, and
                             libertarians can find compromise? Find out this Wednesday with Michigan
                             Law's Federalist Society and ACLU chapter!
                             Where: South Hall 1225... See More




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                                                               162




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                                      The Federalist Society at the University of Michigan Law
                                      School added an event.
                                      October 3, 2017 ·

                             Who: Wen Fa of the Pacific Legal Foundation, Professor Bagenstos
                             What: Can states ban political apparel at polling stations?
                             Where: Hutchins Hall 220... See More




                                 OCT
                                          Panic! at the Poll Booth
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                                                                                             PageID.856          Page 101 of
                                                               162
                                     The Federalist Society at the University of Michigan Law
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                                     September 19, 2017 ·
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                             Clark Neily of the CATO Institute and Julie Beck, the Civil Division Chief at
                             the United States Attorney's Office for the Eastern District of Michigan, will
                             be discussing the merits and dangers of civil asset forfeiture.
                             The event is in 1225 South Hall and a non-pizza lunch will be served....
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                                     The Federalist Society at the University of Michigan Law
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                                     April 10, 2017 ·
                             Wednesday @ 11:50 AM in SH 1225
                             Professor Hirshon's Tips for Law Firm Success.
                             Unable to enroll in Prof. Hirshon's wildly popular class, Law Firm Careers in
                             an Evolving Profession? Professor Hirshon, a two-time managing partner
                             and former president of the American Bar Association, will give some of the
                             same tips he discusses in his seminar. His discussion will be aimed at the
                             graduating 3L class as well as students getting ready to start their 1L or 2L
                             summer firm internship.
                             Co-hosted by the JRCLS, the Outlaws, and the Federalist Society.
                             Jerusalem Gardens will be served!


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                                     April 3, 2017 ·

                             Wednesday: Revolutionary New Strategies to Limit
                                                                            or the Administrative State.
                             11:50 AM in HH 100.
                             Todd Gaziano, Senior Fellow in Constitutional Law at Pacific Legal
                             Foundation, will speak about his “game changing” ideas that have rapidly

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                         become the leading edge of the battle to transform
                               administrative state. Read more about it in this WSJ article
                               (https://www.wsj.com/…/a-gop-regulatory-game-changer-1485478…)
                               Non-Pizza Lunch Served!




                                 A GOP Regulatory Game Changer
                                 Kimberley A. Strassel writes that legal experts say that Congress can overrule
                                 regulations from Obama going back to 2009.
                                 WSJ.COM

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                               Mezes and immigration policy, now in HH
                               250

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                                       The Federalist Society at the University of Michigan Law
                                       School
                                       March 26, 2017 ·
                               Tomorrow @ 11:50 in HH 250
                               Judicial Engagement: The Libertarian Playbook for fighting Legislative (and
                               Executive) Overreach + Lunch from Suvai Palace
                               Join the Federalist Society for a presentation by Clark Neily, of the Institute
                               for Justice, to hear about the work IJ does fighting for individual rights, and
                               the role judicial engagement plays within a libertarian ideological framework.
                               Commentary provided by Prof. Caminker.


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                                                        18-7            of Discomfort - The
                                                                filed 06/15/18              New York Times Page 107 of
                                                                                         PageID.862
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Free Speech and the
Necessity of Discomfort
               By Bret Stephens



Feb. 22, 2018


This is the text of a lecture delivered at the University of Michigan on Tuesday. The speech was
sponsored by Wallace House.

I’d like to express my appreciation for Lynette Clemetson and her team at Knight-Wallace for
hosting me in Ann Arbor today. It’s a great honor. I think of Knight-Wallace as a citadel of
American journalism. And, Lord knows, we need a few citadels, because journalism today is a
profession under several sieges.

To name a few:

There is the economic siege, particularly the collapse of traditional revenue streams, which has
undermined the ability of scores of news organizations to remain financially healthy and invest in
the kind of in-depth investigative, enterprise, local and foreign reporting this country so
desperately needs.

There is a cultural siege, as exemplified by the fact that a growing number of Americans seem to
think that if something is reported in the so-called mainstream media, it is ipso facto untrue.

There’s a technological siege, which not only has changed the way we work, and distribute our
work, but has also created a new ecosystem in which it is increasingly difficult to distinguish fact
from opinion, clickbait from substance, and real news from fake.

Then — need I even mention it? — there is the president of the United States. We are all familiar
with the ways in which Donald Trump’s demagogic assault on the press has already normalized
presidential mendacity, mainstreamed “alternative facts,” and desensitized millions of Americans
to both. I’ll get to him in a moment.


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      Case 4:18-cv-11451-LVP-EAS  Opinion | Free
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                                                        18-7            of Discomfort - The
                                                                filed 06/15/18              New York Times Page 108 of
                                                                                         PageID.863
But there is also a fifth siege, and this is the one162    I want to focus on today: This is the siege of the
perpetually enraged part of our audience.

This is no small thing when it comes to the health, reputation and future prospects of our
profession. Journalism, by its nature, must necessarily be responsive to its audience, attuned to
its interests, sensible to its tastes, alert to its evolution. Fail to do this, and you might not survive
as a news organization, never mind as an editor, reporter or columnist.

At the same time, journalism can only be as good as its audience. Intelligent coverage requires
intelligent readers, viewers and listeners.

We cannot invest in long-form, in-depth journalism for readers interested only in headlines, first
paragraphs, or list-icles. We cannot purchase the services of talented wordsmiths and expert
editors if people are indifferent to the quality of prose. We cannot maintain expensive foreign
bureaus if audiences are uninterested in the world beyond our shores. We cannot expect
columnists to be provocative if readers cancel their subscriptions the moment they feel
“triggered” by an opinion they dislike.

In sum, we cannot be the keepers of what you might call liberal civilization — I’m using the word
liberal in its broad, philosophical sense, not the narrowly American ideological one — if our
readers have illiberal instincts, incurious minds, short attention spans and even shorter fuses.

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An example: Last November, The New York Times published a profile of a 29-year-old Ohio man
named Tony Hovater. Mr. Hovater is a welder from a suburb of Dayton. He’s happily married,
middle class, polite, plays drums, cooks pasta aglio e olio, and loves “Seinfeld.”

He is also a proud and avowed Nazi sympathizer. He started out on the political left, moved over
to the Ron Paul right, and ended up marching with the anti-Semitic white nationalists at
Charlottesville. He doesn’t believe six million Jews died in the Holocaust, and thinks Hitler was
“kind of chill.”

The profile, by Times reporter Richard Fausset, was a brilliant case study in Hannah Arendt’s
“banality of evil.” Hovater is not a thug, even if his ideas are thuggish; not a monster, even if he
takes inspiration from one; not insane, even if his ideas are crazy. He reminds us that a diabolical
ideology gains strength not because devils propagate it, but because ordinary men embrace it.
And he warns us, as Bertolt Brecht put it after the war, “The womb is fertile still, from which that
crawled.”

Lest anyone doubt what Fausset and his editors at the Times think of Hovater and his ideas, the
article was titled “A Voice of Hate in America’s Heartland.” This is not, to say the least, a neutral
way of introducing the subject.
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      Case 4:18-cv-11451-LVP-EAS        ECF  Speech
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                                                    18-7            of Discomfort - The
                                                            filed 06/15/18              New York Times Page 109 of
                                                                                     PageID.864
Yet that did not seem enough for some Times readers,  162       who erupted with fury at the publication of
the article. Nate Silver, the Times’s former polling guru, said the article did “more to normalize
neo-Nazism than anything I’ve read in long time.” An editor at The Washington Post accused us
of producing “long, glowing profiles of Nazis” when we should have focused on the “victims of
their ideologies.” The Times followed up with an explanatory, and somewhat apologetic, note from
the national editor.

No doubt, there may have been ways to improve the profile. There always are. But there was
something disproportionate, not to say dismaying, about the way that so many readers rained
scorn on The Times’s good-faith effort to better understand just what it is that makes someone
like Hovater tick.

Just what do these readers think a newspaper is supposed to do?

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A newspaper, after all, isn’t supposed to be a form of mental comfort food. We are not an advocacy
group, a support network, a cheering section, or a church affirming a particular faith — except,
that is, a faith in hard and relentless questioning. Our authority derives from our willingness to
challenge authority, not only the authority of those in power, but also that of commonplace
assumptions and conventional wisdom.

In other words, if we aren’t making our readers uncomfortable every day, we aren’t doing our job.
There’s an old saying that the role of the journalist is to afflict the comfortable and comfort the
afflicted, but the saying is wrong. The role of the journalist is to afflict, period. News is new — new
information, new challenges, new ideas — and it is meant to unsettle us.

That’s a good thing. To be unsettled and discomforted is the world’s great motivator. It is a prick
to conscience, a prod to thinking, a rebuke to complacency and a spur to action.

Now, when I say we need to be making our readers uncomfortable, I don’t mean we should
gratuitously insult them if we can avoid it. But neither should we make an effort to play to their
biases, or feed this or that political narrative, or dish the dirt solely on the people we love to hate,
or avoid certain topics for fear of stirring readers’ anger, even if it means a few canceled
subscriptions. Especially in an age in which subscribers account for an ever-greater share of our
revenue, publishers will have to be as bold in standing up to occasional, if usually empty, threats
of mass cancellations for this or that article as they were in standing up to the demands of
advertisers in a previous era.

What I mean by making readers uncomfortable is to offer the kind of news that takes aim at your
own deeply held convictions and shibboleths. There are people on the political right who don’t like
hearing that the correlation between firearms and homicides is positive, not inverse — but a

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6/14/2018                      Opinion | Free
       Case 4:18-cv-11451-LVP-EAS        ECF  Speech
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                                                     18-7            of Discomfort - The
                                                             filed 06/15/18              New York Times Page 110 of
                                                                                      PageID.865
positive correlation is what the data show. Some162      environmentalists may believe that genetically
modified “Frankenfoods” are bad for your health, but the overwhelming weight of scientific
evidence tells us they are fine to eat.

The truth may set you free, but first it is going to tick you (or at least a lot of other people) off.
This is why free speech requires constitutional protection, especially in a democratic society. Free
speech may be the most essential vehicle for getting the truth out. But the truth, as anyone
minimally versed in history knows, is rarely popular at first.

Barely 50 years ago, it was an unpopular truth that there was absolutely nothing unnatural about
the love that went by the horrible name of “miscegenation.” Other unpopular truths one could
mention include gay rights, women’s suffrage, and evolution. These truths could only have made
their debut in the public square, and eventually gained broad acceptance, under the armed guard,
so to speak, of the First Amendment.

But not just the First Amendment. In addition to a legal sanction, free speech has flourished in the
United States because we have had a longstanding cultural bias in favor of the gadfly, the
muckraker, the contrarian, the social nuisance. For over a century, editors and publishers and
producers — at least the more enlightened ones — have gone out of their way to make allowances
for opposing points of view.

They do so not because they have no strong convictions of their own, but rather out of a profound
understanding that the astute presentation of divergent views makes us more thoughtful, not
less; and that we cannot disagree intelligently unless we first understand profoundly. They do so
because they believe that social progress depends on occasionally airing outrageous ideas that,
on close reflection, aren’t outrageous at all. They hold firm to the conviction that moving readers
out of their political or moral comfort zones, even at the risk of causing upset, is good for mind
and soul. Ultimately, they do so because we will not be able to preserve the culture and
institutions of a liberal republic unless we are prepared to accept, as Judge Learned Hand put it in
1944, that the “spirit of liberty is the spirit which is not too sure that it is right” — and must
therefore have the willingness to listen to the other side.

This was what Adolph Ochs knew in 1896, when he promised that under his stewardship The New
York Times would “invite intelligent discussion from all shades of opinion.” The Times, like other
papers, may not have always lived up to that promise as well as it might have done. But as some
of you may have noticed, it most emphatically is now, to the loud consternation of many of our
readers.

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      Case 4:18-cv-11451-LVP-EAS         ECF  Speech
                                                No.and the Necessity
                                                     18-7            of Discomfort - The
                                                             filed 06/15/18              New York Times Page 111 of
                                                                                      PageID.866
I do my best to appreciate the concerns of these162     readers. I understand that many of them — many
of us — believe the 2016 election marked a political watershed in which liberties we have long
taken for granted are being attacked and possibly jeopardized by a president whose open
contempt for a free press has few precedents in American history. I understand the justifiable
fear these readers have for a White House in which the truth is merely optional, and in which
normal standards of courtesy or decency have lost the purchase they previously had under
Democratic and Republican administrations alike.

I also understand that these readers see The New York Times as a citadel, if not the citadel, in
standing up to this relentless assault by the president and his minions. I think they are right. The
country needs at least one great news organization that understands that the truth is neither
relative nor illusory nor a function of the prevailing structure of power — but also that the truth is
many-sided; that none of us has a lock on it; and that we can best approach it through the patient
accumulation of facts and a vigorous and fair contest of ideas.

That, at any rate, is what I think we are trying to do at The Times, and I can only hope that more
people will see its virtue as time goes by. That obviously demands good and consistent
communication on our part. But, to return to my theme today, it also requires intelligence on the
part of our readers.

How can we get our readers to understand that the purpose of The Times is not to be a tacit
partner in the so-called Resistance, which would only validate the administration’s charge that
the paper is engaged in veiled partisanship rather than straight-up fact-finding and truth telling?

Some readers, for example, still resent The Times for some of the unflattering coverage of Hillary
Clinton throughout the campaign, as if the paper’s patriotic duty was to write fluff pieces about
her in order to smooth her way to high office. Again, do these readers comprehend that we are in
the business of news, not public relations? And does it not also occur to them that perhaps the
real problem was coverage that was not aggressive enough, allowing Mrs. Clinton to dominate the
Democratic field in 2016 despite her serious, and only belatedly apparent, shortcomings as a
candidate?

As it is, it is not as if there is a great surfeit of pro-Trump news and opinion in the pages of The
Times. I think that’s a shortcoming of ours. We are a country in which about 40 percent of voters
seem to be solidly behind the president, and it behooves us to understand and even empathize
with them, rather than indulge in caricatures. Donald Trump became president because millions
of Americans who voted for Barack Obama in 2012 voted Republican four years later. Those who
claim this presidency is purely a product of racism need some better explanation to account for
that remarkable switch.

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6/14/2018                      Opinion | Free
      Case 4:18-cv-11451-LVP-EAS         ECF  Speech
                                                No.and the Necessity
                                                     18-7            of Discomfort - The
                                                             filed 06/15/18              New York Times Page 112 of
                                                                                      PageID.867
The deeper point, however, is that if one really wants 162 to “resist” Trump, especially those of us in
the news media, we might start by trying not to imitate him or behave the way he does.

The president is hostile to the First Amendment. Let’s be consistent and expansive champions of
the First Amendment. The president belittles and humiliates his political rivals. Let’s listen to and
respect our detractors. The president loves to feel insulted and indignant, because his skin is thin
and it thrills his base. Let’s hold off on the hair-trigger instinct to take offense. The president
accuses first, gathers evidence later. Let’s do the opposite. The president embraces ugly forms of
white-identity politics. Let’s eschew identity politics in general in favor of old-fashioned concepts
of citizenship and universalism.

I could go on, but you get the point. The answer to a politics of right-wing illiberalism is not a
politics of left-wing illiberalism. It is a politics of liberalism, period.

This is politics that believes in the virtues of openness, reason, toleration, dissent, second-
guessing, respectful but robust debate, individual conscience and dignity, a sense of decency and
also a sense of humor. In a word, Enlightenment. It’s a capacious politics, with plenty of room for
the editorials of, say, The New York Times and those of The Wall Street Journal. And it is an
uncomfortable politics, because it requires that each side recognize the rights and legitimacy, and
perhaps even the value, of the other.

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The nomination and election of Trump was, for me, the plainest evidence of the extent to which
the liberal spirit has withered on the political right. I’ve written and spoken about this
phenomenon many times before, so I won’t get into it here. What worries me is the extent to
which it is equally prevalent on the political left.

Case in point: Last month, I wrote a column under the title, “A Modest Immigration Proposal:
Ban Jews.”

The word “modest” might have been a tip-off to modestly educated readers that I was not, in fact,
proposing to ban Jews at all. My point was to note that Jewish immigrants of a century ago,
including my own ancestors, faced the same prejudices that modern-day immigrants from “S-
hole” countries face today, and yet went on to great success. In other words, it was a pro-
immigration piece, in line with the many other pro-immigration pieces I’ve written for the Times.

Social media went berserk. I was called a “literal Nazi,” guilty of “garden variety bigotry.” Others
accused me of giving aid and comfort to neo-Nazis, even if I wasn’t quite a neo-Nazi myself. A
great deal of the reaction was abusive and obscene.




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6/14/2018                    Opinion | Free
     Case 4:18-cv-11451-LVP-EAS        ECF  Speech
                                              No.and the Necessity
                                                   18-7            of Discomfort - The
                                                           filed 06/15/18              New York Times Page 113 of
                                                                                    PageID.868
By now I’m sufficiently immunized to the way social  162 media works that none of this hurts me
personally, at least not too much. And, at its best, platforms such as Twitter are useful for
injecting more speech, from a vastly wider and more diverse variety of voices than we ever heard
from before, into our national conversation.

What bothers me is that too many people, including those who are supposed to be the
gatekeepers of liberal culture, are using these platforms to try to shut down the speech of others,
ruin their reputations, and publicly humiliate them.

How many people bother to read before they condemn? Are people genuinely offended, or are
they looking for a pretext to be offended — because taking offense is now the shortest route to
political empowerment? Am I, as a columnist, no longer allowed to use irony as a rhetorical
device because there’s always a risk that bigots and dimwits might take it the wrong way? Can I
rely on context to make my point clear, or must I write in fear that any sentence can be ripped out
of context and pasted on Twitter to be used against me? Is a plodding, Pravda-like earnestness of
tone and substance the only safe way going forward?

Perhaps the most worrisome question is: To what extent are people censoring themselves for
fear of arousing the social media frenzies? There’s a reason why Katie Roiphe is writing about the
“whisper networks” of women who aren’t 100 percent in line with the #MeToo movement. It
should profoundly alarm anyone who cares for #MeToo that such a piece should have needed to
be written, in the reliably liberal pages of Harper’s Magazine, no less. The job of #MeToo is to put
a firm and hopefully final stop to every form of sexual predation, not to enforce speech codes.

This move toward left-wing illiberalism is not new, and the list of thinkers who have waged war
against that illiberalism, from Arthur Schlesinger Jr. in the 1940s to Christopher Hitchens in the
2000s, amounts to a roll call of liberal honor. I think we are awaiting our new Hitchens today, in
case any of you want to apply for the job. All you need is a first-class brain and a cast-iron
stomach.

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So where does this leave us?

I gave this talk the title: “Free Speech and the Necessity of Discomfort.” Yesterday morning,
when I retweeted Knight-Wallace’s tweet advertising this speech, someone wrote, “Man, I hope
he gets shouted down at some point.” Maybe he was being ironic. At any rate, I’m happy to note
that none of you has shouted me down — so far!

I trust that’s because all of you recognize that, even if I may have said some things that made you
uncomfortable and with which you profoundly disagree, there is a vast difference between
intellectual challenge and verbal thuggishness, between a robust and productive exchange of
ideas and mere bombast, between light and heat.
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                                                 No.and the Necessity
                                                      18-7            of Discomfort - The
                                                              filed 06/15/18              New York Times Page 114 of
                                                                                       PageID.869
It’s fair to say that Americans of different ideological162 stripes feel that many things have gone
profoundly amiss in our social and political life in recent years. We all have our diagnoses as to
what those things are. But one of them, surely, is that we are rapidly losing the ability to talk to
one another.

The president has led the way in modeling this uncivil style of discourse. But he has plenty of
imitators on the progressive left, who are equally eager to bully or shame their opponents into
shutting up because they deem their ideas morally backward or insufficiently “woke.” As each
side gathers round in their respective echo chambers and social media silos, the purpose of free
speech has become increasingly more obscure.

Its purpose isn’t, or isn’t merely, to allow us to hear our own voices, or the voices of those with
whom we already agree. It is also to hear what other people, with other views, often anathema to
ours, have to say.

To hear such speech may make us uncomfortable. As well it should. Discomfort is not injury. An
intellectual provocation is not a physical assault. It’s a stimulus. Over time, it can improve our
own arguments, and sometimes even change our minds.

In either case, it’s hard to see how we can’t benefit from it, if we choose to do so. Make that choice.
Democracy is enriched if you do. So are you.


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https://www.nytimes.com/2018/02/22/opinion/free-speech-discomfort.html                                                 8/8
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.870   Page 115 of
                                     162




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                                                                 Wrong, with Christina PageID.871
                                                                     06/15/18          Hoff Sommers                                         Page 116 of
                                                           162
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     Events
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 Events
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 Past

  Where Leftist Feminism
  Went Wrong, with
  Christina Hoff Sommers

          Create Event          APR        Where Leftist Feminism Went Wrong, with
                                11         Christina Hoff Sommers
                                           Public · Hosted by Young Americans for Freedom at the
                                           University of Michigan

                                  Interested



                                 Wednesday, April 11 at 7:00 PM - 9:00 PM EDT
                                 about 2 months ago


                                 Michigan League (Hussey Room)


                                               About                                      Discussion



                             31 Went · 46 Interested
                             Share this event with your friends



                             Details


                             Where Leftist Feminism Went Wrong: The Case for Conservative Feminism

                             Come hear AEI Scholar Christina Hoff Sommers discuss how the once noble
                             cause of feminism lost its way and why it may take conservative women to
                             put it back on track!

                             Date: April 11th
                             Location: Hussey Room of the Michigan League
                             Time: 7pm (Doors open at 6:40)
                             Cost: FREE (Seating is on a first-come, first-serve basis until room is full)


                             About Young Americans for Freedom at the University of Michigan


                                                   Young Americans for Freedom at the University of
                                                   Michigan
                                                   Nonprofit Organization · Ann Arbor, Michigan
                                                   YAF is a non-profit, educational organization dedicated to
                                                   promoting the ideas of free enterprise, limited government, and a
                                                   strong national defense.




https://www.facebook.com/events/155589421934745/                                                                                                                            1/2
6/14/2018                            Where
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                                                      18-7Wentfiled
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                                                                    06/15/18          Hoff Sommers   Page 117 of
                                                          162




https://www.facebook.com/events/155589421934745/                                                                   2/2
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.873   Page 118 of
                                     162




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6/14/2018   Case 4:18-cv-11451-LVP-EAS Michigan
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                                                No. 18-7       University of Michigan Maize
                                                                     06/15/18               Pages
                                                                                       PageID.874   Page 119 of
                                                        162
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             HOME             EVENTS            ORGANIZAT
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                        Michigan Political
                        Union
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       The Michigan Political Union provides a non-
       partisan parliamentary forum to facilitate
       discussion and debate on contemporary
       political issues. The organization prides
                                                                          VIEW ALL PHOTOS
       itself on its openness to provide a place for
       those throughout the political spectrum to
       communicate and its willingness to tackle
       tough and at times controversial issues.

       Contact Information
             Ann Arbor, MI 48104
             USA
             E: mpu.executive.board@umich.edu

            



       Additional Information
            Please provide an email in which people can
            contact the organization:
            mpu.executive.board@umich.edu
            The Center fo
                        f r Campus Involvement has identified
            this organization as a
            Voluntary Student Organization

https://maizepages.umich.edu/organization/mpu                                                                     1/2
6/14/2018   Case 4:18-cv-11451-LVP-EAS Michigan
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                                                No. 18-7       University of Michigan Maize
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                                                                                       PageID.875   Page 120 of
                                                        162


       Events                                                                                 VIEW ALL EVENTS


             There are currently no upcoming events. View past events.




       Owicers                                                                              VIEW FULL ROSTER



             This organization has no owicers.




       Documents

                    Constitution of the Michigan Political Union.docx                                     




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https://maizepages.umich.edu/organization/mpu                                                                     2/2
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.876   Page 121 of
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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.879   Page 124 of
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6/14/2018                           MPU Takes
            Case 4:18-cv-11451-LVP-EAS    ECF on No.
                                                 the Supreme
                                                       18-7 Court
                                                             filed- University
                                                                     06/15/18  of Michigan Maize Pages
                                                                                       PageID.880        Page 125 of
                                                         162
                                                                                                            SIGN IN



             HOME            EVENTS          ORGANIZAT
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                                                                       MPU Takes
                                                                       on the
                                                                       Supreme
                                                                       Court
                                                                                 Date and Time
                                                                                 Tuesday, March 8 2016 at 7:00
                                                                                 PM EST to
                                                                                 Tuesday, March 8 2016 at 8:30
                                                                                 PM EST
                                                                                 Add To Google Calendar |
                                                                                 iCal/Outlook



                                                                                 Location
                                                                                 Michigan Union
                                                                                 Pond Room
                                                                                 View Map




       Description
       (1.) Resolved: Contrary to the majority decision in Citizens United v. FEC, theĆFirst Amendment
       does not protect financial contributions to political campaigns.
       ~
       (2.) Resolved: In Obergefell v. Hodges, the Supreme Court exceeded its judicial authority in
       declaring marriage as a fundamentalĆhuman right.
       ~
       (3.) Resolved: TheĆupcoming decision of Fisher v. University of Texas at Austin should uphold
       the right of universities to use race in the admissions process to ensure diversity of the student

https://maizepages.umich.edu/event/832838                                                                              1/2
6/14/2018                       MPU Takes
        Case 4:18-cv-11451-LVP-EAS    ECF on No.
                                             the Supreme
                                                   18-7 Court
                                                         filed- University
                                                                 06/15/18  of Michigan Maize Pages
                                                                                   PageID.881        Page 126 of
       body.                                         162

       ~
       (4.) Resolved: The 2016 presidential election should be a referendum on the Supreme Court,
       allowing the next president to nominate Justice Scalia's successor.




       Host Organization


                            Michigan Political Union




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https://maizepages.umich.edu/event/832838                                                                          2/2
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.882   Page 127 of
                                     162




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6/14/2018                              MPU Debates
            Case 4:18-cv-11451-LVP-EAS ECF         BLM - University
                                            No. 18-7                of Michigan Maize
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                                                                                   PageID.883    Page 128 of
                                                     162
                                                                                                     SIGN IN



             HOME            EVENTS          ORGANIZATIONS        NEWS




                                                                 MPU
                                                                 Debates BLM
                                                                          Date and Time
                                                                          Tuesday, September 27 2016 at
                                                                          7:00 PM EDT to
                                                                          Tuesday, September 27 2016 at
                                                                          8:30 PM EDT
                                                                          Add To Google Calendar |
                                                                          iCal/Outlook



                                                                          Location
                                                                          Vandenberg Room (Michigan
                                                                          League)
                                                                          911N. University Avenue
                                                                          View Map




       Description
       Join the Michigan Political Union as we debate the merits of the Black Lives Matter movement.

       Resolution: Black Lives Matter is harmful to racial relations in the United States.
       **The MPU is a NON-PARTISAN organization, and due to the controversial and sensitive nature of
       this topic, the Executive Board would like to remind everyone that the MPU prides itself in
       treating all presenters and viewpoints with dignity and respect. As members of the Leaders and
       Best, let's show the world how to properly discuss complex issues.




       Host Organization
https://maizepages.umich.edu/event/1079641                                                                     1/2
6/14/2018                              MPU Debates
            Case 4:18-cv-11451-LVP-EAS ECF         BLM - University
                                            No. 18-7                of Michigan Maize
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                            Michigan Political Union




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https://maizepages.umich.edu/event/1079641                                                                    2/2
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.885   Page 130 of
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6/14/2018                           MPU Scrutinizes
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                                                       Candidates - University
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             HOME            EVENTS          ORGANIZAT
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                                                                       MPU
                                                                       Scrutinizes
                                                                       the
                                                                       Candidates
                                                                                 Date and Time
                                                                                 Tuesday, October 18 2016 at
                                                                                 7:00 PM EDT to
                                                                                 Tuesday, October 18 2016 at
                                                                                 8:30 PM EDT
                                                                                 Add To Google Calendar |
                                                                                 iCal/Outlook



                                                                                 Location
                                                                                 Kuenzel Room, Michigan Union




       Description
       Join the MPU as it debates the following resolutions:

              1. Resolved: Due to her negligence while handling classified information, American voters
                 should not trust Secretary Clinton to be the military's next commander-in-chief.
              2. Resolved: As a result of Russia's aggressive behavior in Eastern Europe and the Middle East,
                 Mr. Trump's friendly attitude towards Russian President Vladimir Putin would endanger
                 American interests if Mr. Trump is elected.




       Host Organization
https://maizepages.umich.edu/event/1109856                                                                             1/2
6/14/2018                           MPU Scrutinizes
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                                                                                        PageID.887       Page 132 of
                                                         162

                            Michigan Political Union




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https://maizepages.umich.edu/event/1109856                                                                             2/2
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.888   Page 133 of
                                     162




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                                                                   06/15/18       PageID.889    Page 134 of
                                                    162
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             HOME            EVENTS          ORGANIZAT
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                                                                 Debate
                                                                         Date and Time
                                                                         Tuesday, October 25 2016 at
                                                                         7:00 PM EDT to
                                                                         Tuesday, October 25 2016 at
                                                                         8:30 PM EDT
                                                                         Add To Google Calendar |
                                                                         iCal/Outlook



                                                                         Location
                                                                         Parker Room




       Description
       Tonight we will be debating the following resolutions at 7pm in the Parker room:
       1) The United States should place a temporary moratorium on all immigration as it readjusts its
       priorities for admission.
       2) The United States should expand Social Security.
       3) The United States should close its detention facility at Guantanamo Bay.
       4) The United States should implement a tax on carbon emissions.




       Host Organization


                            Michigan Political Union


https://maizepages.umich.edu/event/1122203                                                                    1/2
6/14/2018   Case 4:18-cv-11451-LVP-EAS ECFDebate - University
                                           No. 18-7           of Michigan
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                                                                   06/15/18       PageID.890   Page 135 of
                                                    162




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https://maizepages.umich.edu/event/1122203                                                                   2/2
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                                                                     06/15/18                Pages
                                                                                       PageID.901    Page 146 of
                                                        162
                                                                                                         SIGN IN



             HOME            EVENTS          ORGANIZAT
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                                                                     MPU
                                                                     Bicentennial
                                                                     Debate
                                                                              Date and Time
                                                                              Thursday, November 2 2017 at
                                                                              6:00 PM EDT to
                                                                              Thursday, November 2 2017 at
                                                                              9:00 PM EDT
                                                                              Add To Google Calendar |
                                                                              iCal/Outlook



                                                                              Location
                                                                              Kuenzel Room - Michigan Union




       Description
       Join the Michigan Political Union as we debate the following resolutions -

       1. Resolved: Despite the decision to legalize abortion in Roe v Wade, such procedures are an
       inappropriate use of tax dollars.
       2. Resolved: FDR’s New Deal helped bring the United States out of the Great Depression.
       3. Resolved: Given the existence of unique local circumstances, the right of smaller jurisdictions
       to secede from larger governing structures should be internationally recognized.

       Featuring speeches from Professors Disch and Sedo




       Host Organization
https://maizepages.umich.edu/event/1624733                                                                         1/2
6/14/2018   Case 4:18-cv-11451-LVP-EASMPU Bicentennial
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                                                                                       PageID.902    Page 147 of
                                                        162

                            Michigan Political Union




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https://maizepages.umich.edu/event/1624733                                                                         2/2
Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.903   Page 148 of
                                     162




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6/14/2018                           WeListenECF
            Case 4:18-cv-11451-LVP-EAS       fostersNo.
                                                     cross-party
                                                          18-7dialogue
                                                                 filed on immigration | The
                                                                        06/15/18            Michigan Daily
                                                                                         PageID.904          Page 149 of
                                                             162




      WeListen fosters cross-party dialogue on immigration
      Monday, February 5, 2018 - 10:28pm




      Students discuss immigration during the second meeting of WeListen, a new student organization devoted to facilitate
      small-group conversations between students of various political beliefs, at the Ford school Monday. Buy this photo
      (http://store.pub.umich.edu/michigan-daily-buy-this-photo/)

      Matt Vailliencourt/Daily


      ALICE TRACEY (/AUTHOR/TRAINING)
      For the Daily


      Over 50 students gathered at the Ford School of Public Policy to discuss immigration policy and
      controversies surrounding the topic on Monday. The dialogue was hosted and facilitated by WeListen
      (http://www.welisten.us/#1), an organization dedicated to encouraging open conversation between
      conservative and liberal students on campus.
      WeListen was co-founded (http://fordschool.umich.edu/news/2017/launch-welisten) last September by
      Engineering senior Sonia Thosar and Public Policy senior Gabriel Lerner. Frustrated by the partisan
      divide and “echo chambers” they noticed on campus and across the nation, Thosar and Lerner launched
      the organization with the goal of giving students a chance to address political differences in a constructive
      way.

https://www.michigandaily.com/section/campus-life/welisten                                                                   1/5
6/14/2018
        Case 4:18-cv-11451-LVP-EAS      WeListenECF
                                                 fostersNo.
                                                         cross-party
                                                              18-7dialogue
                                                                     filed on immigration | The
                                                                            06/15/18            Michigan Daily
                                                                                             PageID.905        Page 150 of
                                                                 162
      WeListen’s administrative board, which Thosar describes as a “50-50 split of liberals and conservatives,”
      has since facilitated a number of discussions on topics such as gun control, the refugee crisis, the death
      penalty and the right to protest.
      Public Policy junior Alli Berry, one of WeListen’s co-presidents, said the purpose of WeListen
      discussions is to expose participants to differing viewpoints and to establish commonalities.
      “The ‘why’ behind someone’s disagreement is often more important than what they’re disagreeing with
      you on because a lot of the time our disagreements actually come from shared values,” Berry said.
      According to Thosar, WeListen makes a particular effort to reach out to conservative students.
      “It is a really liberal campus, so what we’ve been really trying to do is market to conservatives and make
      sure they know about us, and they know that it’s not a place that they’re going to get attacked for their
      viewpoints,” Thosar said. “We’ve actually had about 30 percent conservative attendance, which is pretty
      good considering this school.”
      WeListen gauges the political leanings of participants by asking them to sign in and fill out a survey at the
      beginning of each event. Attendees rank themselves on a scale of one for most liberal to seven for most
      conservative. Participants also answered a question about the subject being discussed.
      To kick off Monday’s session on immigration, WeListen’s leadership team presented a few introductory
      slides. Berry and her co-president, LSA sophomore Nick Tomaino, outlined WeListen’s mission and
      offered suggestions on how to engage in considerate, productive conversation.
      Other board members gave an overview of the discussion topic, reviewing immigration policy under the
      past four presidents, presenting common liberal and conservative viewpoints on the issue and
      highlighting recent news pertaining to immigration.
      The students were then broken up into politically diverse groups of six or seven. The groupings, based on
      responses to the entrance survey, were determined using a sorting algorithm developed by WeListen’s
      vice president of technology.
      Handouts with immigration facts and statistics, as well as guiding discussion questions, were distributed
      throughout the room.
      The groups spent about 10 minutes chatting casually, then the co-presidents asked them to start discussing
      immigration. The groups delved into topics such as merit-based immigration, assimilation, Trump’s
      border wall, humanitarianism, visa expiration and the role of the United States government in protecting
      its citizens. Another common theme was “brain drain (http://www.economist.com/node/18741763),” the
      phenomenon of highly-trained professionals leaving developing nations for countries like the U.S.
      Some of WeListen’s board members participated, structuring the conversations and bringing up
      counterpoints to spark debate.
      Business freshman Elan Arnowitz said the wide array of perspectives allowed him to dive into his own
      opinions and explore why he felt the way he did about immigration.
      “I really enjoyed hearing people’s viewpoints,” Arnowitz said. “It just forces me to either strengthen my
      own or to change my opinion.”
      Arnowitz described the dialogue as democratic and respectful.
https://www.michigandaily.com/section/campus-life/welisten                                                                   2/5
6/14/2018Case 4:18-cv-11451-LVP-EAS    WeListenECF
                                                fostersNo.
                                                        cross-party
                                                             18-7dialogue
                                                                    filed on immigration | The
                                                                           06/15/18            Michigan Daily
                                                                                            PageID.906        Page 151 of
                                                                162
      “I haven’t had any negative experiences in terms of discussions, which I think is a true testament to this
      club and to the quality of students that are present,” Arnowitz said.
      The groups talked for nearly 40 minutes. Afterwards, Berry and Tomaino held a debriefing session,
      asking participants to share what they had learned, what they found challenging and how they planned to
      continue the conversation outside of WeListen.


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6/14/2018                           WeListenECF
            Case 4:18-cv-11451-LVP-EAS       fostersNo.
                                                     cross-party
                                                          18-7dialogue
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                                                                        06/15/18            Michigan Daily
                                                                                         PageID.907          Page 152 of
                                                             162




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            Case 4:18-cv-11451-LVP-EAS       fostersNo.
                                                     cross-party
                                                          18-7dialogue
                                                                 filed on immigration | The
                                                                        06/15/18            Michigan Daily
                                                                                         PageID.908        Page 153 of
                                                             162
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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.909   Page 154 of
                                     162




                  EXHIBIT 86
6/14/2018   Case 4:18-cv-11451-LVP-EAS ECFWeListen
                                           No. 18-7- University
                                                           filedof Michigan
                                                                    06/15/18Maize Pages
                                                                                   PageID.910   Page 155 of
                                                     162
                                                                                                   SIGN IN



             HOME             EVENTS                 ORGANIZAT
                                                            A IONS   NEWS




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       WeListen is a grassroots, campus-based
       organization working toĉbridge the American
       political divide. Through biweekly
       discussion sessions on topics ranging from
       gun control to free speech, we facilitate
       small-group conversations (not debates!)
                                                                        VIEW ALL PHOTOS
       between people with divergent political
       viewpoints. We're looking for students of
       various backgrounds with views across the
       political spectrum (Democrats, Republicans,
       or neither, who are interested in learning
       why someone mightĉnotĉagree with them.
       We hope to show that political
       disagreement is not inherently hostile, and
       that constructive political discourse is both
       possible and valuable.

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6/14/2018   Case 4:18-cv-11451-LVP-EAS ECFWeListen
                                           No. 18-7- University
                                                           filedof Michigan
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                                                                                   PageID.911   Page 156 of
       Additional Information
                                                     162


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       Events                                                                             VIEW ALL EVENTS


             There are currently no upcoming events. View past events.




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             This organization has no owicers.




       Documents

                     WeListen.pdf                                                                     

                     Constitution/Bylaws                                                              




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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.912   Page 157 of
                                     162




                  EXHIBIT 87
6/14/2018   Case 4:18-cv-11451-LVP-EAS ECFMichigan
                                           No. 18-7Debate Program | Dean of Students
                                                          filed 06/15/18        PageID.913             Page 158 of
                                                    162
      Michigan Debate Program




            (https://deanofstudents.umich.edu/files/dos/field/image/debate%20team.jpg)


            The University of Michigan Debate Program is committed to student learning and development via
            participation in intercollegiate policy debate. Through the varsity traveling team, summer national high
            school debate institute, urban debate outreach efforts in Detroit, and hosting of a national high school
            debate tournament, the UM Debate team facilitates and enriches the educational experience of current
            and potential students.

            For more information about the program and how to get involved, visit the UM Debate Program website
            (http://www.michigandebate.com/).




                                                                   (https://studentlife.umich.edu)



   Office of the Dean of Students
   Tappan Auxiliary Building
   609 Tappan Ave
   Ann Arbor, Michigan 48109-1220

   Monday - Friday 8 AM - 5 PM

     (734) 764-7420 (http://tel:(734) 764-7420)
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6/14/2018   Case 4:18-cv-11451-LVP-EAS ECFMichigan
                                           No. 18-7Debate Program | Dean of Students
                                                          filed 06/15/18        PageID.914                            Page 159 of
                                                    162




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Case 4:18-cv-11451-LVP-EAS ECF No. 18-7 filed 06/15/18   PageID.915   Page 160 of
                                     162




                  EXHIBIT 88
6/14/2018                                CONSIDER:
            Case 4:18-cv-11451-LVP-EAS ECF         - University
                                            No. 18-7      filedof 06/15/18
                                                                  Michigan Maize Pages
                                                                                 PageID.916   Page 161 of
                                                   162
                                                                                                 SIGN IN



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       aim to create discussion on campus that is
       avoided in this technology generation. ĉWe
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       the opportunity for others to form their own
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                                                No. 18-7      filedof 06/15/18
                                                                      Michigan Maize Pages
                                                                                     PageID.917   Page 162 of
            The Center fo                              162
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